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MISSISSIPP] HEALTH CARE COMMISSION
MEETING

MINUTES OF JUNE 19, 1980 REGULAR MEETING NO. 13

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
June 19, 1980, in the Executive Conference Room of the Mississippi Health Care
Commission building at 2688 Insurance Center Drive, Jackson, Mississippi.

The following were in attendance:

Commission Members Commission Staff Members
Mr. Dan S. Wilford, Chatrman Mr. Thomas J. Brooks, III
Patrick Pierce, M.D., Vice Chairman Ms. Victoria Pickering
Mrs, Sara F. Gallaspy, Secretary Ms. Jacqueline Thames
Alton B. Cobb, M.D. Mr. Robert Pugh

Mr. John Allen Darnel] Mr. Ron McAnally

Most Reverend Joseph L. Howze Mr. Don Gill

Mr. Charles Penson Mr. Mendal Kemp

Dr. Bill Moore

Mrs. Nita Gunter

Mr. T. J. Rance

Mrs. Bonnie Griffith

Representative from Representative from

Attorney General's Office DOHHR, Atlanta

Mr. W. DO. Coleman, Attorney Mr. Thomas Goninion, Project
at Law Officer

The meeting was called to order by Chairman Dan Wilford.
The invocation was given by Mr. Charles Penson.

The Legal Notice of the public meeting, as it appeared in the Jackson Daily News
and Clarion Ledger newspapers, June 7, 1980, was read by the Secretary, Mrs. Sara
F. Gallaspy.

The minutes of the regular meeting on May 15, 1980 and the special meeting on

May 30, 1980 were approved on a motion by Dr. Cobb, seconded by Mrs. Gallaspy.
There was no opposition and the motion carried. :

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The Chairman, Mr. Wilford, indicated that the agenda as mailed to the Commissioners
would be changed since Mr. Thomas J. Brooks, IJ], Executive Director, had been
asked to appear before the Eleemosynary Board at its meeting at 10:00 A.M. that day.

OLD BUSINESS

1. a. Mid-Delta Home Health Agency, Belzoni
Mr. Wilford indicated that the proposal had been discussed at the May regular ~
meeting and had been deferred to the June meeting. Mr. Ron McAnally reported
that the differences in data presented at the previous meeting proved to be
a result of different reporting periods. Mr. McAnally indicated that contacts
with other home health agencies certified for the area produced the following
information: Hollandale Home Health Agency (Cleveland sub-unit) - no business
in Tallahatchie County and no plans at present to serve the area; Magnolia
(located in Oxford) - two patients in county; Sta-Home (in Grenada) - a rela-
tively new agency with no work presently in the county, but plan at some later
date to provide services in the county. The Health Department did make
services available in the area, but had limited participation.

There was discussion by Commission members regarding the 50-mile radius the
home base was authorized to encompass upon approval of any such application
and the duplication of services resulting from this provision, It was further
recognized by Commission members that, though there was some overlapping of
service areas, it was evident that in some cases the services were not being
made available.

A motion was made by Mr. Penson, seconded by Dr. Cobb, to approve the proposal
for the Mid-Delta Home Health Agency to establish an office in Glendora.
Dr. Pierce indicated that he was abstaining from voting since he had not been
present at the May meeting when the proposal was discussed in greater detail.
The vote was taken and the motion carried with no opposition and one abstention
(Dr. Pierce).
There was discussion regarding the need for standards and criteria to be used in
determining needs for home health agencies as are available for determining needs for
hospitals, nursing homes, etc. It was also recognized that some thought should be
given to a means of withdrawing approvals when services are not provided as proposed,
thus reducing duplication of service areas.

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Dr. Cobb presented and moved for the adoption of the following resolution regarding
home health agencies: "Whereas the Mississippi. Health Care Commission has the
authority under the state enabling act for CON review on home health agencies ,and
whereas such review should rest on development of plans, standards, and criteria
which would provide a basis for rational decision making for the Health Care
Commission on CON requests for new or expanded home health agencies; Whereas the
additional cost for new or expanded services under Medicaid represent a critical
problem for the future financing of this vital program, be it resolved that the
Mississippi Health Care Commission declare a moratorium on review of any additional
CON requests for home health agencies until such time as the Commission staff can
develop a satisfactory plan for such services in Mississippi to provide the Health
Care Comnission with the basis for a fair and impartial review of all such requests."
Dr. Pierce seconded the motion. Mr. Coleman suggested that the word "moratorium"
be changed since that might exceed the authority of the Commission. -After further
discussion, the motion was amended to request that the staff.within 60 days develop
at least interim guidelines and criteria for the Commission to use as the basis for
its evaluation of such applications. Mr. Pugh commented that there were no home
health agency applications coming up in the next cycle. There was no opposition and
the motion carried,

NEW BUSINESS

Mr. Wilford informed the Commission that the first five items on the agenda under
New Business would be presented together since they all were equipment items.

1. a. Forrest General Hospital, Hattiesburg (Replacement of x~ray equipment. )

b. Ivy Memorial Hospital, West Point (Replacement of x-ray equipment. )

c. Jeff Anderson Memorial Hospital, Meridian (Replacement of radiology equipment. )

d. St. Dominic Hospital, Jackson (Replacement of radiology equipment. )

e. Greenwood-Leflore Hospital, Greenwood (Replacement of laboratory equipment. )
Ms. Victoria Pickering presented the staff report, indicating that all the
proposals were non-substantive and that all equipment had surpassed the expected
life span as measured by guidelines for such equipment. She further stated
that all the hospitals had experienced costs associated with down time and
repair work. Ms. Pickering indicated that each hospital had evidenced adequate
financial resources to cover replacement costs without undue cost to the
patients and that health manpower changes were not involved in any of the pro-
posals,

The Commission conmended Ms. Pickering for her concise but adequate presenta-
tion of the five proposals.

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f b. Form 45's

. Mr. Brooks presented a list of the nine Form 45's to be ratified by
the Commission,

c. Cost overrun
Mr. Brooks presented a cost overrun of $100,000 in connection with the
Ellisville State School's renovation of :68 ICF/MR beds.

Dr. Pierce made a motion, seconded by Bishop Howze, to approve the Form 45's
presented and the cost overrun. There was no opposition and the motion
carried.

Request for “good cause" hearing - Billdora Nursing Home

Mr. Wilford indicated that this was a request for the addition of 12 beds to an
existing 48-bed nursing home.

Mr. Brooks stated that the hearing had been requested on the grounds that the
proponent felt the Commission's decision had been based primarily on data in the
Preliminary Health Plan which had not been adopted as the official plan. Mr.
Brooks commented that he thought it was the feeling of the Commission members that
the upcoming moratorium as well as guidelines in the soon to be adopted Plan were
grounds for denial.

Senator Gresham was recognized by Mr. Wilford and indicated his request that if a
hearing was granted, that it be held prior to July 1.

After further discussion by Commission members regarding the facts presented in
the case, a motion was made by Mr. Penson, seconded by Dr. Pierce, to deny the
motion. There was no opposition and the motion carried.

1122 Review

Mr. Wilford recommended that the Commission participate in the 1122 Review for at
least another year. A motion was made by Dr. Cobb, seconded by Bishop Howze, to
authorize the chair to sign such an agreement. There was no opposition and the
motion carried.

Statewide Health Needs Identification

Mrs. Gunter indicated that the change in the law in October made it the responsibility
of the Health Care Commission to identify statewide health needs to send to the Health
Systems Agency for use in developing the state Plan. She stated that the Governor
had designated six other agencies to make written recommendations. Mrs. Gunter

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requested that a sub-committee from the Commission be appointed to work with a
sub-committee of the Statewide Health Coordinating Council to develop concise
statements regarding health needs.

There was discussion among Commission members regarding the fact that it seemed
that such needs had already been developed several times and it was a duplication
of effort to keep identifying the same needs. Mr. Brooks suggested that he work
with the other agencies involved and report back to the Commission. A motion was
made by Dr. Cobb, seconded by Dr. Pierce, to delegate this responsibility to the
Director. There was no opposition and the motion carried,

District 2 Hospital in Durant

Mr. Kemp discussed with the Commission some of the deficiencies at the hospital

and described efforts made in the past to have the deficiencies corrected. He
indicated that basically their problems involved lack of adequate nurse staffing,
inadequate medical records and inappropriate procedures being used in the lab.

Mr. Kemp requested guidance from the Commission as to whether or not they wished

to receive such information though the deficiencies might not always require official
action. It was ‘the consensus of the Commission members that such information was
needed by the Commission in making their decisions.

Forms for Full Designation

Mr. Wilford stated that Mr. Goninion had forms to be signed by the Chairman to

have ready if full designation were received. A motion was made by Mrs. Gallaspy,
seconded by Dr. Cobb, to authorize the Chairman, Mr. Wilford, to sign the necessary
forms regarding full designation. There was no opposition and the motion carried.

Personne]
A motion was made by Dr. Pierce, seconded by Mr. Penson, that the Commission discuss
going into Executive Session. There was no opposition and the motion carried..

A motion waS made by Mr. Darnell, seconded by Mrs. Gallaspy, that the Commission
go into Executive Session. There was no opposition and the motion carried.

Next Meeting
The next meeting of the Commission will be at 10:00 A.M. on Thursday, July 17, 1980.

Dan S. Wilford, Chairman Mrs. Sara F. Gallaspy, Secretary

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MISSISSIPPI HEALTH CARE COMMISSION

MEETING

MINUTES OF SEPTEMBER 18, 1980 REGULAR MEETING NO. 17

A regular meeting of the Mississippi Health Care Commission was held on Thurs-
day, August 21, 1980, in the Executive Conference Room of the Mississippi Health
Care Commission building at 2688 Insurance Center Drive, Jackson, Mississippt.

The following were in attendance:

Commission Members Commission Staff Members
Mr. Dan Wilford, Chairman Mr. Thomas J, Brooks, III
Patrick Pierce, M.D., Vice Chairman Mr. Mendal Kemp

Mrs. Sara Gallaspy, Secretary Mr. Robert Pugh

Mr. John Allen Darnell Mr. Gene Hammett

Mr. Charles Penson Ms. Victoria Pickering
Alton Cobb, M.D. Ms, Jacqueline Thames

Ms. Jean Lavine
Mr. Festus Simkins
Ms. Elizabeth Rice

Representative from Representative from DHHS, Atlanta
Attorney General's Office Office of Standards & Certification
Mr. W. D. Coleman, Attorney Mr, Hugh Miller

at Law

The following Commission member was absent: Most Reverend Joseph L. Howze.

The. meeting was called to order by the Chairman, Dan Wilford. The invocation
was given by Mr. Darnell.

The Legal Notice of the public meeting, as it appeared in the Jackson Daily
News and Clarion Ledger newspapers, September 6, 1980, was read by the
Secretary, Mrs. Sara Gallaspy.

The minutes of the regular meeting on August 21, 1980, were approved on a
motion by Mr. Darnell and second by Mrs. Gallaspy. ‘Mr. Wilford noted that

a correction in terminology should be made when referencing "Joint Commission
on Accreditation of Hospitals." There was no opposition to the motion, and
it carried.

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noted was that stations drawing patients from out-of-state would be
counting the population of al] counties served, including out-of-state.
There was discussion among Commission members that this would promote
additional stations since certain portions of the population, nation-
wide, would be counted more than once.

Mr. Brooks noted that the draft document contained only “Formula 3"
and it would be his suggestion that the other two formulas be included
prior to making it available for public comment.

Dr. Moore indicated that the federal regulations only require "12
months experience” whereas the Commission had recommended "a formal
residency in nephrology for a year.” Since it was determined that
state regulations could be stricter than federal regulations, it was
the consensus of the. Commission members to retain this standard.

A motion was made by Mrs. Gallaspy, seconded by Dr. Pierce, to approve
presenting the draft document for public and expert review. There
was no opposition, and the motion carried.

b. Home Health Care Services (proposed Standards for Certificate of Need)

Mr. Festus Simkins discussed the procedures used in the development

of this document. He indicated that an extensive study had been made

of literature available on the subject and contacts had been made with

planning agencies in other states. Mr. Simkins went through the

steps in the formula as follows:

1. Determine need rate for home health care in the area (state).

2. Determine number of people in need (multiply need rate by
population of area being served).

3, Determine average case load (divide number in need by turnover
rate). ,

4

. Determine number of agencies needed (divide average case load
by adjusted optimum agency size).

Mr. Simkins discussed several of the variables in such a formula and
indicated that the formula was based on the assumption that the number
of people going into a home health agency from a community was equal
to the number of hospital discharges.

After a discussion period by Commission members, it was recommended
that additional research be done in the area of cost when the agency

is attached to an existing agency or autonomous.
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Mr. Pugh informed the Commission members that a meeting had been set
for October 9, 1980 with the home health care task force to review
the document and receive recommendations. He stated that representa-
tives of this task force included home health care providers, private
and public agencies, hospital based agencies, Blue-Cross personnel,
Medicaid personnel, and PSRO.

A motion was made by Dr. Pierce, seconded by Mr. Penson, to approve
presenting the draft document for public and expert review. There was
no opposition, and the motion carried.

Therapeutic Radiation (Standards and Criteria for Appropriateness
eview

Dr. Bill Moore presented the document and indicated that it was
anticipated that 3 out of every 1,000 people will need radiation
treatment. Through a study of the various methodologies available
to determine need in this area, the standard recommended was that
a cobalt 60 machine should be able to do 7,998 treatments per year
(1 treatment/20 minutes; 48 hours/week; 52 weeks/year).

Dr. Cobb mentioned that such highly sophisticated treatment services
could be more regionalized that diagnostic services such as CT scanning;
however, Dr. Pierce made the observation that many of the people
receiving radiation treatment were very sick and travel time should

be considered,

Dr. Moore stated that there were 15 facilities in the state providing
therapeutic radiation services and, based on present standards and
criteria, probably half of the facilities would be found inappropriate
on the basis of utilization.

Dr. Pierce recommended that a statement regarding the rural areas of
the state be included as a point of consideration when determining
need.

A motion was made by Mrs. Gallaspy, seconded by Dr. Cobb, to approve
presenting this document for public and expert review. There was no
opposition, and the motion carried.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF NOVEMBER 20, 1980 REGULAR MEETING NO. 18

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
November 20, 1980, in the Topaz Room of the Hilton Hotel in Biloxi, Mississippi.

The following were in attendance:

Commission Members Commission Staff Members
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Patrick Pierce, M.D., Vice Chairman Mr. Gene Hammett

Mrs. Sara Gallaspy, Secretary Mr. Mendal Kemp:

Alton Cobb, M.D. Mr. Lary Daniels

Mr. John Allen Darneli Mr. George Jobe

Bishop Joseph L. Howze Mr. Don Gill

Mr. Charles Penson Dr. Bill Moore

Mr. T. J. Rance

Representatives from DHHS, Region IV

Mr. George Williams
Mr. Tom Goninion

The meeting was called to order by the Chairman, Dan Wilford. The invocation
was given by Bishop Howze.

The Legal Notice of the public meeting, as it appeared in the Jackson Daily
News and Clarion Ledger newspapers, November 8, 1980, was read by the Secretary,
Mrs. Sara Gallaspy.

The minutes of the regular meeting on October 16, 1980, were approved on a
motion by Bishop Howze, seconded by Mr. Darnell. There was no opposition, and
the motion carried.

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6. | Proposed Legislation

a. Consideration of dropping 1122 provision.

Mr. Brooks discussed the pros and cons of dropping the 1122 provision
and indicated that the 1122 provision carried with it some usable
penalties not included in the State Certificate of Need statute.

Mr. Brooks stated that one of the major reasons to consider dropping
1122 was the workload imposed on agency staff.

Mr. George Williams of the Atlanta staff was asked to comment and he
informed the Commission that the 1122 statute placed the option with
the state regarding participation in the program. He indicated that
in his contacts with other states, it seemed that many liked the

idea of having the federal sanction in case of violations,

Mr. Brooks noted that the penalties available under the state law
did not provide practical provisions with the necessary flexibility.

After further discussion on this topic, it was the consensus of
opinion among Commission members for the staff to proceed to work on
recommending legislation to provide flexible penalties, and after
such legislation was adopted, further consideration would be given
to dropping 1122.

b. Moratorium on nursing home beds

Mr. Brooks reviewed the current moratorium language and indicated
that if the moratorium was continued, the staff recommended that it
be amended to make provision for approval of certificates of need
for repair or renovation of existing facilities.

Mr. George Jobe discussed the possible need for recommending con-
tinuation of the moratorium based on the fact that the results of

the 1980 census had not been released; therefore, it would be
difficult to accurately project bed need since it was tied so closely
to population. Mr. Jobe further stated that there were enough
approved CON's that sufficient beds should be available to take care
of the need for the next several years.

It was agreed by the Commission that the staff should proceed with
having repairs and renovations excluded from the moratorium law,
should it be extended.

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c. Home Health Agency Licensing Law

Mr. Brooks indicated that the staff needed to know the wishes of the
Commission relative to development of a licensing law for home health
agencies.

A motion was made by Mrs. Gallaspy, seconded by Bishop Howze, that
the staff develop licensing laws for home health agencies. There was
no opposition, and the motion carried.

Natchez Charity Hospital

Mr. Brooks informed the Commission that a request had been received for a
hearing to be held on the decision to revoke the license of Natchez Charity
Hospital. There was a brief discussion regarding a date for such a hearing,
and it was decided that February seemed the most logical time for such &
hearing as it would be during the deliberations of the Legislative appro-
priations committee. A decision was made to hold the hearing in conjunction
with the regularly scheduled meeting on February 19, 1981.

“Memorandum of Understanding with Mississippi Hospital Association"

Mr. Brooks indicated that this document had been sent to Commission members
for their review, and the staff recommended approval.

A motion was made by Mrs. Gallaspy, seconded by Mr. Penson, to approve the

document. There was no opposition, and the motion carried.

Tunica County Rural Health Initiative Program

Mr. Brooks informed the Commission that the federal authorities had reversed
the decision of the Health Systems Agency and the grant had been approved;
therefore, no action was needed by the Commission.

Methodist Rehabilitation Center

Mr. Kemp indicated that a review of the preliminary drawings for the
approved addition indicated a capacity for 57 new beds, while the approyal
was only for 44. An explanation was requested and the staff had been told
that the rooms would be redesignated as single bed rooms. Mr. Kemp noted
that this could be controlled through the licensing process, but under the
regulations, the facility could increase bed number by 10 beds or 10% over
a two year period.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF DECEMBER 18, 1980 REGULAR MEETING NO.19

A regular meeting of the Mississippi Health Care Conmission was held on Thursday,
December 18, 1980, in the MultiPurpose Room of the Health Care Commission
offices, 2688 Insurance Center Drive, Jackson, Mississippi.

The following were in attendance:

Commission Members Commission Staff Members
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Patrick Pierce, M.D., Vice Chairman Mr. Mendal Kemp

Mrs, Sara Gallaspy, Secretary Mr. Robert Pugh

Alton Cobb, M.D. Ms. Jacqueline Thames
Mr. John Allen Darnell Dr. Victoria Pickering
Bishop Joseph L. Howze Mr. Don Gill

Mr, Charles Penson Mr. Gene Hammett

Mr. Ernest Moss
Mr. Lary Daniels
Ms. Maybelle Gorringe
Mr. George Jobe

Representative from Representative from

Attorney General's Office DHHS, Region IV

Mr. W. D. Coleman, Mr. Tom Goninion
attorney at law Mr. Ulysses Vidal

The meeting was called to order by the Chairman, Dan Wilford. The invocation
was given by Mr. Charles Penson.

The Legal Notice of the public meeting, as jt appeared in the Clarion Ledger on
December 8, 1980, was read by the Secretary, Mrs. Sara Gallaspy.

The minutes of the regular meeting on November 20, 1980, were approved on a

motion by Bishop Howze, seconded by Dr. Cobb. There was no opposition, and the
motion carried,

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3.

Home Health Agencies Draft of Proposed Licensing Law

Mr. Kemp stated that the staff had been requested by the Commission to
draft a licensure law for Home Health Agencies. He indicated that the
draft included sections on the definition of a Home Health Agency, a
description of the license itself, procedures regarding the issuance and
renewal of licenses, and information on denial or revocation of license,
confidentiality of information, inspections, and penalty and injunction
processes. Mr. Kemp stated that it was anticipated that present staff of
the Licensure and Certification Division would be able to handie the
additional workload in its initial stages, but this would have to be
evaluated periodically. Mr. Kemp also informed the Commission that repre-
sentatives of Home Health Agencies would be requested to have input into
the licensing law. He also noted that it might be advisable to incorporate
into the law that a private committee be established in an advisory capacity.

Mr. Brooks suggested that the staff pre-file:this legislation, recognizing
the scrutiny such a proposal would have when introduced into committee.
Mr. Gill informed the Commission that the bill] could be withdrawn at any
time the Commission so desired.

A motion was made by Mrs..Gallaspy, seconded by Mr. Darnell, to pre-file
the’ Home Health Agency Licensing Law. There was no opposition, and the
motion carried.

Commission Response to Letter from Office for Civil .Rights

Mr. Wilford indicated that copies of the response had been mailed to
Commission members, and noted that the response had been mailed prior to
the meeting to comply with the 30-day time period allowed. Mr. Wilford
stated that he and Mr. Brooks had discussed the possible need for. additional
documentation of the Conmission's position that could be sent to the
Office for Civil Rights, if the Commission thought this idea had merit.
Some of the items Mr. Wilford mentioned were a copy of the rules on open
meetings established by the Commission, a record of public notices of
meetings since the Commission had been-in existence, and a copy of the
laws under which the Commission exists and with which it must comply.
Mr. Wilford informed the other Commission members that he and Mr. Brooks
had met with Governor Winter to discuss the civil rights complaint and
Commission response, and the governor ‘had been very supportive of the

Commission.
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Mr. Jobe stated that one of the recommendations the staff.would like for
the Commission to make to the Legislature would be for the State of
Mississippi to be designated as a single service area for nursing home
beds. Mr. Jobe gave the rationale behind this recommendation, indicating
that sufficient beds were available for several years although it was
recognized that optimum distribution was not realized.

There was discussion among Commission members regarding this recommenda -
tion and a motion was made by Bishop Howze, seconded by Mn Darnell, that

“the draft be accepted with the stipulation that additional study would be
made of the service area concept and presented at the next Commission meeting.
There was no opposition, and the motion carried.

Mrs. Nita Gunter addressed the Commission and indicated that the service
area designation was part of the responsibility of the Statewide Health
Coordinating Council in consultation with the Health Systems Agency and
Health Care Commission. She stated that it was anticipated that by the
SHCC meeting. on January 8,.1981, a tentative draft would .be ready for
presentation to the Council and then to the Commission at its January 15
meeting, with a final decision possibly being made in February.

6. Home Health Agencies

Mr. Pugh indicated that the issue regarding appropriateness review for

home health agencies had become a very controversial one, and because of
this, the Health Systems Agency had been requested to delay their review
period until February 12, 1981. He noted that the HSA had agreed to this
request, and the extension of time would allow an opportunity to work

more closely with the Home Health Agency Task Force, consisting of providers
of that service primarily. Mr. Pugh stated that the staff would provide
the Commission members with a side-by-side working draft of the differences
between the position of the Task Force and the staff.

Mrs. Gallaspy indicated her displeasure with the staff that she had not been
notified of the outcome of the lawsuit involving the Commission and the DeSoto
Medical Center. Mr. Coleman brought the Commission up to date, indicating that
the action filed by Mr. John Sullivan, dr., had been found to be without
foundation. |

NEXT MEETING: January 15, 1981

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Joint Staff Comparison Program
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Comparison of Proposed Criteria and Standards

for Home Health Care Services

The process of developing the service specific criteria and standards
for home health care services has been a difficult one. The Joint Staff
is faced with the problem of developing criteria and standards for an
industry which is relatively new and for the most part has gone unnoticed
until recently.

In 1978, home health care agencies in Mississippi received almost
10 million dollars in Medicare funds for the delivery of home health
services. While this amount {js small compared to the 205 million dollars
medicare paid for medical services during 1978 in Mississippi, it does
represent a substantial sum of money.

Last December, Congress passed and the President signed the Omnibus
Reconctltatton Act of 1980. With the signing of this act, it can be
anticipated that the expenditure of medicare funds for home health
services will increase even more dramatically than they have in the last

few years. The Home Health Line, a publication of a national organization

representing the industry, reacted to the signing by stating that “Home
Health and heme care are on the yerge of enormous growth and major
change!" This statement will certainly be proven true in the future.
The Act detetes the prior-hospitalization requirement and 100
visits per year limits under Medicare. Proprietary agencies may now
partictpate in Medicare without being licensed as a home health by the
State. Finally, the proposed cost caps, which were intended to limit
spiralling costs, en home health services died in conference committee.
It ts quite apparent that these changes tn the Medicare law are going to
impact heavily on the deltvery of home health care services in our

state.

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While developing the Joint Staff document, input from the Task Force
was solicited and received. The Joint Staff incorporated the recommendations
of the Task Force where it appeared to be appropriate. For the most part,
the Joint Staff concluded that the Task Force recommendations were not
specific enough in nature. With potentially so much at stake, it is
understandable that the representatives of the home health industry question
the stated purposes of appropriateness review and are reluctant to recommend
or support any criteria and/or standard. which would restrict, monitor or hold
an agency accountable for its actions.

This reluctance is reflected in the Task Force's recommendation that no
standard incorporate the use of the word "SHALL". The Task Force recommended
the use of the word "SHOULD" instead. The Joint Staff interprets the word
"should" as meaning "desirable but not manditory”. For instance, if a
standard stated that an agency "should" do something it is in fact an
expression of what is desired of the agency but the agency is not required to
do it. On the other hand, the word "shall" denotes a manditory requirement that
the agency must fulfill.

The recommended standards which utilize the word "shall" are based on
the premise that an agency should deliver the highest quality of service
possible and that some minimum standards of care and administration are

essentjal in order that this goal be approached.

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The rational set forth in the following pages speak to those definitions,
criteria and standards on which the Joint Staff and the Task Force could
not reach agreement.

Definitions

1. Home Health Agency

The definition recommended by the Joint Staff is the definition
which is presently in the CON law passed by the Mississippi Legislature
in 1979, Since we have a definition which is supported statute, it
is unnecessary to adopt a new definition. The recommended definition
fs worded so it includes all home health agencies presently operating
in the state whether they be private nonprofit, public or proprietary.

2. Home Health Agency Catchment Area

The definition of a home health agency's catchment area is the
one presently used by the Health Care Commission's Division of
Licensure and Certification. The Joint Staff has again elected to
recommend a definition that is presently in use in our state. This
definition is presently being uniformly applied to all agencies in
the state except the three proprietary agencies. Presently, proprietary
agencies, since they do not receive Medicare funds, do not come
under the 50 mile catchment area limit. Should the proprietary
agencies elect to participate in the Medicare program, they will be
required to meet the 50 mile regulation. There was a question
raised by the Task Farce as to whether the 50 mile catchment area
was fair or workable. The Division of Licensure and Certification
has made an inquiry to the Department of Health and Human Services
regarding its use and was assured that it was an acceptable and

reasonable regulation,

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Home Health Agency Subunit and Home Health Agency Branch Office

These two definitions were derived directly from the Federal

Conditions of Participation use in the Medicare reimbursement program.

Again, these definitions apply to all agencies in the state except
proprietaries. Should the proprietary agencies wish to participate in
the Medicare program, they will be required to meet these definitions.

Criteria and Standards

The Task Force recommended that no criteria and standards which

"speak to CON be included in the document. -. The paragraph defining the

terms of "appropriateness" and "existing" were added for clarification
as to why the document speaks to CON as well as AR. Federal regulations
require that AR include those services “currently offered (at time of
reyiew), during the preceding 12 months, or to be initiated during the
following 12 months." Only two standards apply solely to CON and there-
fore do not constitute a major barrier to using the document to review
these agencies which propose to come into being. The dual format has
been used tn previous appropriateness review documents and has not

caused any problems.

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Criteria and Standards

Availability

1. Scope of Services

a. Section a., is a statement of what type services a home health
agency in Mississippi must provide. It is a direct quote from
Section 41-7-191; Mississippi Code 1972 as amended.

b. The only difference the standard recommended by the Joint
Staff and the standard recommended by the Task Force is the
use of the words “upon request." The Joint Staff recommended
that the words "upon request" be deleted from the standard.
Information and referral should be an integral part of a
service ortented agency's program. Information regarding other
agenctes which could help alleviate suffering should be given
freely by an agency and not have to be specifically requested.

2. The degree toe which the proposed Home Health Service project is
conststant with applicable health plans.
The Task Force recommended the deletion of this criteria and
standard because it referred to CON. The reason for its
jncluston in the document was discussed earlier in the section
yelated to definitions of standards and criteria.
3.  Serytce Capacity of Agency

The difference jin the Jaint Staff standard and the Task Force

standard ts the use of the term "shall" instead of "should". A

heme health agency should not have the option of whether they will

maintain adequate staff to provide services to patients. Adequate
staffing should be mandatory. If-an agency is chronically under-
staffed tt may lead to poor quality of care and staff dissatisfaction
which

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could reflect on the industry as a whole. It is recognized that an
agency may have a difficult time maintaining adequate staff to
serve its patients but if they document the measures taken to
alleviate the problem, it would not reflect poorly on the agency.
4. Service Capacity in Catchment_Area (Need Determination Methodology)
An extensive review of the methods recommended and used by
various state, federal and industry entities to determine the
"need" for home health care services has been and will continue
to be made, While it was found that there is no universal
method now in use and all the methods reviewed had weaknesses,
the Joint Staff was in full agreement that some methodology
should be adopted. The major weakness of all methodologies
reviewed was that they may under estimate or over estimate
"need". The Task Force recommended that no methodology be
adapted but instead each home health agency should analyze and
determine "need" in the area they serve. Unfortunately, this
type of "self-determination" may lead to an overly protective
attitude regarding an agencies catchment area and restrict the
addition of other agencies or the expansion of existing
services in a given area. Conversely, it could lead to the
over utilization of services because an agency generates a
greater "need" for services than actually exists.
Also, and maybe more importantly, we have very little data
regarding the use of home health services in our state. The
use of the suggested methodology plus additional demographic
information will be a first step in establishing a reliable

data base from which statistically valid determinations and

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decisions can be made.
In working with the Task Force, the Joint Staff found that
they were reluctant to release any data which would give

_ insight to an agency's operations. Planning for health
related services is an inexact science at best and without a
good data base turns into an exercise in futility.
The suggested methodology was developed by Mr. Herbert Traxler
and is used by many Health Systems Agencies for determining
the "need" for home health services. Additionally, several
HSAs and SHPDAs have used parts of the methodology in determining
"need". The Traxler methodology is flexible and can be used in
large or small catchment areas and in urban or rural areas.
The methodology encourages the use of localized data if
possible.
As was stated earlier, the Joint Staff could not find a
universally accepted methodology and the Task Force is reluctant
to endorse any methodology. For these reasons, it is recommended
that Traxler's methodology be field tested during this review
cycle. No agency will be deemed inappropriate under this
methodology at the present time. However, the use of the
methodology will help establish a data base from which valid
conclusions can be drawn in the future. The Joint Staff will
continue to research and test other methods to determine the
"need" for services in order that the most appropriate methodology
which meets the needs of Mississippians can be found and

utilized.

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Accessibility

1.

Area to be Served

The rational for section a., of this standard is discussed in
the justification of the definition of a Home Health Catchment
Area.

Availability of a plan which promotes accessibility to care seqardless
of ability to pay.

Access to quality medical care js a right to which every
individual is entitled. These four standards are an effort to
insure that patients have access to that care. While there are no
laws which mandate that a home health agency must deliver.services
regardless of the patient's ability to pay, a service oriented
agency should help patients in need find agencies which can deliver
the services or render financial assistance.

It ts recognized that an agency may not be able to appropriately
serye all patfents referred to them. However, when an agency
denies services to a patient the reasons for denial should be duly
documented. In this way, weaknesses in the service delivery system
can be found and steps taken to correct them. The major function
of AR iste provide a basis for long term planning.

Each agency, except proprietaries, which was at the Task Force
meetings, indicated that they had at one time or another delivered
services even though they knew they would not receive compensation.
These agencies also indicated that this would probably happen again
in the future. If an agency ts going to deliver services without
charge, the procedure should. be supported by specific written
polictes. With such policies there is less chance of indescriminate

selection oF patients who will receive uncompensated care. Documentation
of charity care will help us develop a data base from which we can

i ify vice.
identify gaps in ser PLAINTIFFS002373
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Client Mix

Again, the difference between the recommended standard of the
Task Force and Joint Staff is the preferred use of the term "shall"
as opposed to "should". No agency should have the privilege of
discriminating against a patient on the grounds of race, color, creed,

age, sex, or ethnicity.

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Acceptability

1. Availability of Client's "Bill of Rights”

All patients served by an agency should have the right to be
treated with dignity and respect. While a written "Bill of Rights"
for patients in and of itself will not assure the proper treatment
of patients, it does indicate that an agency is concerned and is
making some positive effort to insure that patients are treated
appropriately. The patient's "Bill of Rights" can be used as a
standard in that it can be used to measure to some degree the
treatment a patient receives. There are several "Bill of Rights"
existing within the health agency and they could be adapted to the
home health industry with very little effort. The Task Force
recommended that the standards regarding a patient's "Bill of
Rights" be deleted from the document.

2. Availability of a Grievance Procedure

There should be some formal mechanism for a patient or a
patient's representative to inform an agency of a complaint and a
formal process by which the grievance can be resolved. The
documentation of a patient’s complaint and how it was handled can
give some indication of the quality of care being delivered by the
agency. It can also help the agency define problem areas in its
delivery system so they can be quickly corrected. It may be useful
in identifying gaps in the delivery system and help in planning to

improve the system,

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Cost Effectiveness

1. Total Cost Per Unit of Service
It is not unreasonable to believe that similar services

delivered by similar agencies in similar areas should cost about
the same. While there will probably be some variation in costs of
similar services delivered by different agencies, the variation
should not be great. The cost of a nursing visit delivered in a
predominately rural area should be comparable no matter which type
of agency (private nonprofit, public or proprietary) delivers it.
Excessive unit cost jis often times an indication of inefficiency
and waste. If the higher costs cannot be justified, a closer look
at the structure of the delivery system or administrative branch
may be indicated.

2. Administrative Costs

This recommended standard was developed by the Council of Home

Health Agencies and Community Services; the National League for
Nursing and the American Public Health Association as a result of
their dtrect fnvelyement in developing standards for the accreditation
of heme health agenctes. Excessive administrative costs are one
indtcator that an agency may not be effectively and efficiently
implementing their programs. A recent report indicated that some
agencies tn our state may have excessive administrative salaries
which vary from 41% to 56% of an agency's total personnel salaries.
The use ef the recommended standard will help locate potential

problem -areas.

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Financial Viability

1.

Source of Funding

By documenting the source of all funding, gaps in the reimbursement
process can be located. This standard relates to the acceptance of a
wide varity of reimbursement sources, not just Medicare. A patient
can be selectively discriminated against because of their source of
payment for services. For example, an agency may not want to take
third party insurance payments from a private company because it would
require to much paper work. By knowing what types of funding sources
agencies utilize, gaps in the system can be located and plans to correct

them can be made and implemented.

Quality

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Availability of an adequate program for controlling infection.

This standard is aimed at not just having an infection control
program, but having an effective program. In order to determine
whether a program is effective or not it must be constantly monitored,
reviewed and updated. If an agency strives for an effective system,
it will lead to the discovery of both weak and strong areas of a
program so changes and corrections can be made. There are state laws
which require the reporting of certain illnesses to the Department of
Public Health and any prgram in full compliance with these regulations
would be actively moving toward an effective infection control program.
Existance, avaflability and implementation of a continuing education
program for staff members.

The only differences in the recommended standards of the Joint
Staff and the Task Force are the uses of the terms "shall" or "should"

and the number of hours of inservice training required. Inservice

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training is an essential ingredient in the delivery of quality
services. The Division of Licensure and Certification requires
that a minimum of 12 hours per year of inservice training be given
all.direct service staff. This standard is presently used in the
Division's review process and jis considered reasonable as a
minimum standard.
3. Coordination of Services
The interdisciplinary team approach to the delivery of health related
services has proven to be both efficient and effective. With a varied
range of input from staff, family, and patient, new and innovative
methods of patient care can be developed. The interdisciplinary team
approach helps promote treatment programs which are designed to meet
the individual needs of the patient.
4. Staffing requirements by type
The average number of visits which should be made per working
day was derived from information obtained in the review of the
literature and through discussion with knowledgable individuals
that deliver or monitor home health services. For example: The
average skilled nursing visit takes between 35-45 minutes to complete.
The average visit typically consists of the following procedure:
a. The nurse enters the patients place of residence;
b. The nurse establishes some report with family members;
c. Discusses any problems regarding problems or progress they may
haye encountered s{nce the last visit;
e. The nurse prepares the instruments for the delivery of prescribed
services ;

f. delivers the services;

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g.- Cleans up afterwards;

h. Teaches the patient or family a new technique if necessary;

i. Make clinical notes;

j. The nurse discusses any new physician's orders with the responsible
~ persons of the residence;

k. Returns to their vehicle and prepares for the next visit.

There will usually be travel time involved in getting to the next
patient. The average is based on a full time equivalency staff member
working a normal 40 hour week. In addition to the delivery of direct
services, a nurse will spend some time reviewing and updating records,
conferring with other staff members involved with serving the patient
and with the patient's attending physician. The Joint Staff recognizes
that some visits will take less than 45 minutes to complete, but others
will take considerably more than 45 minutes. This is why the number
of visits is based on an average. The time a nurse spends with a patient
providing needed services is a good indication of the quality of care
the agency delivers. A recent report indicated that one agency in our
state had a nurse that spent approximately 6 minutes per visit with her
patients. Although, this is an extreme example, it does indicate possible
problem areas do exist.

5. Training and/or certification requirements for professional and non-
professional staff.

Again, the only difference between the two recommended standards
was the use of the term "shall" or "should". It js essential that an
agency majntain writtan job descriptions and training requirements in order

to help insure quality staffing.

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6. Utilization Review Procedures

The Division of Licensure and Certification requires that home
health agencies review quarterly 10% or 10 (which ever is greater)
of its patients records. The Joint Staff did not realize this
requirement was already in existence when the recommended standard
was developed. Therefore, since there is an established regulation
covering this area, the Joint Staff recommends the adoption of the
standard used by the Division of Licensure and Certification, j.e.,
each home health agency shall review at least quarterly 10% or
10 (which ever is greater) of its patients records for completeness and

appropriateness.

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Continuity
The Task Force had requested that the Joint staff delete the

characteristics of continuity from the Home Health Appropriateness Review
Document because its inclusion was optional and not mandatory. The Joint
Staff considers the characteristic of continuity sufficiently important to
recommend it to be retained in the final document.
1. Availability of and accessibility to patient records without violation
of client confidentiality.
In order for a patient to receive a continuum of care, all
individuals and/or organizations should, with consent of the patient
or responsible person, have access to any records which may be helpful
in the delivery of their services. ‘This type of policy helps to prevent
gaps in and duplication of services.
2. Availability of adequate discharge planning procedures and follow-up
care.
There should be some established policy regarding how an agency
will plan for the discharge of a patient. This policy should include
participation of the family, patient, attending physician and other
staff. An integra] part of any discharge plan would be a statement
of what aftercare services, if appropriate, the patient wil? require.
If an agency provides any follow-up services after discharge, it should
be documented so the patient's records will be complete.
3. Locus of responsibility for services delivered.
The patient's attending physician is the person that will ultimately be
held responsible for the care the patient receives. It is his orders
that the agency carries out and he should be directly involved in any plans
that are made. The establishment of or changes in a treatment plan should
not be undertaken without the input of the patient's attending physician.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF APRIL 30, 198) REGULAR MEETING NO. 23

A regular meeting of the Mississippi Health Care Commission and a joint meeting
with certain Statewide Health Coordinating Council members to discuss the State
Health Plan were held on Thursday, April 30, 1981, in the Multi-Purpose Room of
the Health Care Commission, 2688 Insurance Center Drive, Jackson, Mississippi.

The meeting was called to order by the Chairman, Dan Wilford. The invocation was
given by Bishop Howze.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
April 2, 1981, was read by the Commission Secretary, Mrs. Sara Gallaspy.

A motion was made by Mr. Darnell, seconded by Mrs. Gallaspy, to approve the
minutes of the March 19, 198] meeting. There was no opposition, and the motion
carried.

Mr. Wilford indicated that the first item on the agenda would be the joint meeting
between the Commission and SHCC to discuss the State Health Plan.

Commission Members: Mr. Dan Wilford, Chairman
Mrs. Sara Gallasy, Secretary
Mr. John Allien Darnell
Bishop Joseph L. Howze
Mr. Charles Penson

SHCC Members: Helen Barnes, M.D., Chairman
Malcolm Taylor, M.D.
William Sistrunk, M.D.
Mr. W. 0. Simpson
Mrs. Ona Willingham
A. Albert Azordegan, M.D.

Commission Staff: Mr. Thomas J. Brooks, III
Mrs. Nita Gunter
Mr. Robert Pugh
Mr. George Jobe
Mr. Gene Hammett
Mr. Don Gill
Mr, Mendal Kemp

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Mr. Pugh commented that the Guidelines were consistent with the State
Health Plan.

A motion was made by Mrs. Gallaspy, seconded by Mr. Darnell, to adopt the
draft Perinatal Guidelines and make them available for public review. There
was no opposition, and the motion carried.

7. doint Meeting with Medicaid Commission

Mr. Brooks noted that on several previous occasions the Commission had
indicated a desire to have a joint meeting with the Medicaid Commission for
an exchange of ideas, He stated that one of the issues suggested for
discussion had been the effect of Commission actions on expenses incurred
by the Medicaid Commission. There was a brief discussion regarding other
items for discussion at the joint meeting. By consensus, the Conmission
agreed to the joint meeting and directed Mr. Brooks to make the necessary
arrangements,

8. Authorized Signatures on Travel Vouchers

Mr, Brooks noted that as a procedural matter, he wanted the Commission to
be aware that Mr. Ed Triplett, Director of Business Services, was being
authorized to sign travel vouchers submitted by staff members. Mr. Brooks
stated that since he approved travel requests and the amounts to be in-
curred, it was not necessary that he see the voucher when it was submitted.
He indicated that the State Auditor's Office had approved the procedure.

A motion was made by Bishop Howze, seconded by Mr. Darnell, to approve
the recommendation. There was no opposition, and the motion carried.

9. Home Health Agency Resolution

Mr. Brooks noted that the home health licensing law would become effective
July 1, 1981. He stated that the staff recommended a moratorium on issuing
Certificates of Need for new or expanding home health agencies for a 12

month period beginning July 1, 1981, in order to give the staff an opportunity
to compile information on home health agencies. Mr. Brooks informed the
Commission that the Licensure and Certification Division had assured him

that each county was covered by at least two home health agencies.

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Mr. Kemp noted that the law provided one year for the home health agencies
ta comply with the standards; therefore, each agency in existence would
be licensed for the first year.

There was discussion by Commission and staff regarding the possibility of
the moratorium eliminating the development of agencies capable of providing
superior care to that being provided by some existing agencies.

Mr. Darnell made a motion, seconded by Mrs. Gallaspy, to approve the
resolution regarding a moratorium on home health agencies so that the
resolution could be made available for public review. There was no
opposition, and the motion carried.

Rules, Regulations and Minimum Standards for the Aged or Infirm

Mr. Brooks noted that the rules, regulations and standards had been
adopted with the intent to approve at a previous meeting, and it was time |
for final adoption of the document.

A motion was made by Mr. Penson, seconded by Mr. Darnell, to adopt the
Rules, Regulations and Minimum Standards for the Aged or Infirm. There

was no opposition, and the motion carried.

Appropriateness Review: Long Term Care

Mr. Pugh noted that the staff recommended draft approval of the Long Term
Care Appropriateness Review Standards so that they could be made available
for public review. He indicated that the Long Term Care Task Force had
requested from the Health Systems Agency a delay in the initiation of the
review schedule, but the HSA Board declined to grant the delay.

A motion was made by Mrs. Gallaspy, seconded by Mr. Penson, to approve the
draft for public review. There was no opposition, and the motion carried.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF MAY 21, 198] REGULAR MEETING NO. 24

A regular meeting of the Mississippi: Health Care Commission was held on Thursday,
May 21, 1981, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Mrs. Sara Gallaspy, Secretary Mr. Robert Pugh
Mr. Charles Penson Mr. Mendat Kemp
Alton Cobb, M.D. Mr. Don Gill

Mrs. Nita Gunter
Commission Members Absent Mr. Gene Hammett

Bishop Joseph L. Howze
Patrick Pierce, M.D.
Mr. John Allen Darnell

The meeting was called to order by the Chairman, Dan Wilford. The invocation
was given by Mr. Charles Penson.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
May 11, 1981, was read by the Commission Secretary, Mrs. Sara Gallaspy.

A motion was made by Mrs. Gallaspy, seconded by Dr. Cobb, to approve the minutes
of the April 30, 1981 meeting. There was no opposition, and the motion carried,

OLD BUSINESS

1. Clarification of Commission Action on ESRD Plan

Mr. Brooks stated that at the April meeting it had been the staff's
recommendation that the Commission adopt the ESRD Plan under both the
Emergency Provision and the regular Intent to Adopt Provision, but the
motion regarding this item had not clearly stated this intent. He further
noted that by adopting the ESRD Plan under the Emergency Provision, the
Plan could be used immediately as the basis for project review.

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head scanner. Mr. Hammett indicated that the extension would be for
approximately 30 days.

A motion was made by Dr. Cobb, seconded by Mr. Penson, to grant a delay
until such time as the Commission had an opportunity to act on the
request to continue use of the head scanner. There was no opposition,
and the motion carried.

Change in Home Health Agency Moratorium

Mr. Brooks indicated that after further evaluation of the one-year mora-
torium on new or expanding home health agencies, the staff recommended
that the moratorium be reduced to a six-month period. He stated that

the six months should be sufficient time for the development of pertinent
analyses needed to provide a basis for Certificate of Need reviews.

Several representatives of established and proposed home health agencies
spoke in support of the development of standards and criteria for deter-
mining the need for such services; however, there was some opposition to
the inclusion in the moratorium of those applications either already sub-
mitted or for which letters of intent had been received by the Commission.
Mr, Hammett indicated that 16 letters of intent were on file, with two
applications having reached the Commission office the day before the
meeting.

After a discussion of allt factors presented, a motion was made by Mr.
Penson, secanded by Mrs. Gallaspy, to approve a six-month moratorium on
Certificates of Need for home health agencies. There was no opposition,
and the motion carried.

"Hold" Resotution on Appropriateness Review

Mr. Brooks stated that the staff had discussed with the Atlanta Regional
Office of DHHS the proposed resolution and the latter's suggested revisions
had been incorporated into the resolution, so that it would be clear that
the action being taken was not a cancellation of the Appropriateness Review
Program. Mr. Brooks indicated that the delay would provide the time
needed to receive a clear indication of what the new Congress and

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF JUNE 18, 198] REGULAR MEETING NO. 25

A regular meeting of the Mississippi Health Care Commission was held on Thurs-
day, June 18, 1981, in the Multi-Purpose Room of the Health Care Commission,
2688 Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Mr, Charles Penson Mr. Robert Pugh

Mr. John Allen Darnell Mr. Mendal Kemp

Bishop Joseph L. Howze Mr. Don Gil]

Alton B. Cobb, M.D. . Mr. Gene Hammett

Mr. Lary Daniels
Dr. Victoria Pickering

Commission Members Absent Mrs. Nita Gunter

Patrick Pierce, M.D., Vice-Chairman
Mrs. Sara Gallaspy, Secretary

Representative from
Attorney General's Office

Mr, W. D. Coleman, Attorney
at Law

The meeting was called to order by the Chairman, Dan Wilford. The invocation
was given by Bishop Howze.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
June 9, 1981 was read by Mr. Thomas J. Brooks, III, as requested by the Chairman,
Mr. Wilford.

Mr. Wilford informed the Commission that Mrs. Gallaspy was attending a meeting on
the Coast which was necessary that she attend due to her position with the
Mississippi Municipal Association, and Dr. Pierce had a patient situation

arise that prevented his being at the Commission meeting. Mr. Wilford stated
that it would be appropriate to elect an Acting Secretary for that meeting in
order to have official signatures on the documents resulting from the meeting.

A motion was made by Dr. Cobb, seconded by Mr. Darnell, to elect Mr. Charles

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and welfare of the general public. The Commission also announces its
intent to adopt this manual for permanent use as per the provision of
subsection (1) of that statute, It fs noted that the schematic drawing
required with the letter of intent shall be struck from the manual.

Mr. Brooks stated that Items 5, 6, 7, and 8 could be grouped together with one
motion covering the four items.

5. Final Adoption of Six-Month Moratorium on Home Health Certificates of. Need

Mr. Gill presented the following motion for Commission consideration: That
the Order of May 21, 1981 which amended the Order of April 30, 1981 by
fixing a period of only six (6) months from and after July 1, 1981, that
the Commission would not process or make a final determination on any
application for a new or expanded Home Health Agency be adopted for per-
manent use effective from and after June 22, 1981.

6. Final Adoption of Hospital Licensure Regulations

Mr. Gill presented the following motion for Commission consideration: That
the manual entitled "Minimum Standards for the Operation of Mississippi
Hospitals" that the Commission voted on May 21, 1981 to adopt by the pro-
visions of subsection (2) of Section 25-43-7 of the Mississippi Code of
1972 and voted an intent to adopt for permanent use by subsection (1) of
that said section, officially be adopted for permanent use effective

June 22, 1981.

7. Final Adoption of One-Year Delay in Appropriateness Review Program

Mr. Gill presented the following motion for Commission consideration: That
the Order of May 21, 1981 determining that the schedule for the Appro-
priateness Review Program shall be delayed for a period of one year from
date --and that the Commission exercise its option to cancel any agreement
entered into with the Mississippi Health Systems Agency, Inc. pertaining to
this subject -- is adopted for permanent use effective from and after

June 22, 1981.

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Supplement to End Stage Renal Disease Plan

Mr. Gil] presented the following motion for Commission consideration: That
the supplement to the “End Stage Renal Disease Plan" that the Commission
voted on April 30, 1987 to adopt by the provision of subsection (2) of
Section 25-43-7.of the Mississippi Code of 1972 and voted an intent to
adopt for permanent use by subsection (1) of the said statute, officially
be adopted for permanent use immediately.

A motion was made by Bishop Howze, seconded by Mr. Penson, to approve the action
recommended by Mr. Gil] on the S{x-Month Moratorium on Home Health Certificates
of Need, Hospital Licensure Regulations, One-Year Delay in Appropriateness
Review Program and Supplement to End Stage Renal Disease Plan. There was no
opposition, and the motion carried,

9.

Quarterly Report on Licensure and Certification Division Activities

Mr. Mendal Kemp reported that the Division had licensed four new health
care facilities during the quarter: (1) 12-bed personal care home in
Jackson, (2) Grandview Health Care Center in Grenada, 120-bed dually
certified facility, (3) Kemper County Nursing Home in DeKalb, 60-bed

dual facility, and (4) Lincoln County Residential Center in Brookhaven,

120-bed ICF/MR facility.

Mr. Kemp stated that the following facilities had additions under con-
struction, most of which should be licensed by mid-summer: (1) Calhoun
County Nursing Home, 60-bed addition, (2) Jasper County Nursing home,
20-bed dddition, (3) Pecan Grove ICF/MR at Ellisville, 132-bed addition,
and Jacquith Nursing Home at Whitfield, 152-bed addition. Mr. Kemp noted
that Pinecrest Nursing Home at Hazlehurst and Angelus at Clarksdale would
be inspected in early July to determine if they met commencement of
construction requirements. He stated that some work had been done at

the two sites, but it was doubtful that either would meet construction
requirements by the July 1 deadline.

Mr. Kemp informed the Commission that at present there were 48 hospitals
in the state undergoing some type of renovation. He also stated that three
new rural health clinics had been licensed during the reporting quarter:

Byhalia, Lena and Goodman.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF DECEMBER 17, 1981 _REGULAR MEETING NO. 31

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
December 17, 1981, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Patrick Pierce, M.D., Vice Chairman Mr. Don Gill

Mrs, Sara Gallaspy, Secretary Mr. Robert Pugh

Mr. John Allen Darnell Mr. Lary Daniels

Alton B. Cobb, M.D. Mr. Mendal Kemp

Mr. Charles Penson Mrs. Nita Gunter

Bishop Joseph L. Howze Mr. George Jobe

The meeting was called to order by the Chairman, Mr. Dan Wilford. The Legal
Notice of the public meeting, as it appeared in the Clarion-Ledger on December 7,
1981, was read by Mrs. Gallaspy.

Mr. Wilford asked for corrections or addition to the Minutes of the November 19,
1981 meeting; there were none. A motion was made by Mr. Darnell, seconded by
Mrs. Gallaspy, to approve the Minutes as written. There was no opposition and
the motion carried.

NEW BUSINESS
1. Doctors Hospital, Jackson
2.  Lifemark Recovery Center, Jackson

Mr. Pugh presented the staff report and stated that both proponents proposed
to establish chemical dependency units and though the setting for the
service in each case was different, the staff determined the services were
sufficiently similar to treat the proposals as competing applications. Mr.
Pugh indicated that Doctors Hospital proposed the conversion of 25 medical/
surgical beds to alcohol and drug beds. The Lifemark Recovery Center pro-

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2. Home
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independent statutory Maternal Health Council with the hope that the
Commission would look to strengthening the committee's relationship
to the Commission, in lieu of an independent Council.

There: was agreement by all Commission members that the policy statement
would be considered at the next meeting.

Health

Extension of Moratorium

Mr. Brooks stated that the six-month moratorium on new or expanding
home health agencies would end soon and the staff recommended a 90-day
extension of the moratorium for the purpose of enabling the staff to
send out and process the newly developed licensure forms. Mr. Brooks
indicated that information retrieved from the forms would enable the
staff to give proper evaluation to applications regarding home health
agencies.

Mr, Paul Majors, administrator, Simpson General Hospital, stated that
the moratorium prevented his hospital from providing a service that
should be provided. He said that home health agencies in the area

could not offer the variety of services his hospital could, and providing
home health care would fill the gap of health care between treating
patients as inpatients and outpatients.

Ms. Margaret Muse, administrator, Laird Hospital, stated opposition to
the extension of the moratorium since it would delay again application
for home health services through Laird Hospital.

Mr. Wilford stated that the purpose for the moratorium was to allow

the staff an opportunity to develop criteria and standards for home
health agencies and to complete an inventory of home health services
available. He noted that the standards and criteria had been developed
but the staff needed additional time to complete the inventory.

Mr. Don Baxter, South West Mississippi Home Health Agency, stated his
opinion that hospitals could not necessarily provide better quality
home health care than could individual agencies. He also stated that
he did not accept the proposition that all health care delivery needed
to be controlled by hospitals.

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Ms. Marilyn Williams, Mississippi Hospital Association, stated that

she was addressing the Commission as a representative of the Society
for. Home Health Agencies of the MHA. She indicated that the position
of the Hospital Association was that such a moratorium was contrary to
the intent of the planning law and the idea of Certificate of Need. Ms.
Williams stated that a moratorium denied applicants the review process
for determining need. She further commented that if the reason for the
moratorium was because sufficient information was not available on the
service, then the same action should have been taken for all other pro-
posals which were not addressed in the State Health Plan and for which
criteria and standards had not been developed.

After discussion by-Commission members, a motion was made by Dr. Pierce,
seconded by Mrs. Gallaspy, to. extend the moratorium on home health
agencies for 90 days. There was no opposition, and the motion carried.

b. Mr. Brooks stated that the staff requested Commission approval to make
the home health criteria and standards available for a 30-day public
comment period. A motion was made'by Mrs. Gallaspy, seconded by Dr.
Pierce, to approve the staff recommendation. There was no opposition,
and the motion carried.

Discussion and Adoption of Long Term Care Study

Mr. Jobe gave a brief background regarding the study which had been requested
by the 1980 Legislature to determine the need for nursing home beds in the
State and the’ request by the 1981 Legislature for the continuation of the
study, mainly to’ explore alternatives to nursing home care.

Mr. Jobe stated that information provided by the study indicated: that
significant numbers of persons go into nursing homes needlessly because

other adequate services were either unavailable in the community or avail-
able but unknown to. the potential nursing home resident. Mr. Jobe’ nated that
a major problem encountered in receiving community services was. the much lower
income eligibility requirement for nursing home eligibility through
Medicaid than for other Medicaid services.

Mr. Jobe briefly discussed four options that could be recommended to the
Legislature:

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MISSISSIPPI HEALTH CARE COMMISSION

MEETING wee fT

MINUTES OF FEBRUARY 18, 1982 REGULAR MEETING NO. 33

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
February 18, 1982, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Patrick Pierce, M.D., Vice Chairman Mr. Robert Pugh

Mrs. Sara Gallaspy, Secretary Mr. Mendal Kemp

Alton 8. Cobb, M.D. Mrs. Nita Gunter

Mr. John Allen Darnel] Mr. Don Gill

Bishop Joseph L. Howze Mr. Festus Simkins

Mr. Charles Penson Mr. Lary Daniels

Ms, Jacqueline Thames

Representative from
Attorney General's Office

Mr. W. D. Coleman, Attorney at Law

The meeting was called to order by the Chairman, Mr. Dan Wilford. The invocation
was given by Bishop Howze.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
February 8, 1982, was read by Mrs, Sara Gallaspy.

Mr. Wilford asked for corrections or additions to the Minutes of the January 21,
1982, meeting; there were none. A motion was made by Bishop Howze, seconded by
Mrs. Gallaspy, to approve the Minutes as written. There was no opposition, and
the motion carried.

Mr. Wilford stated that in order to move through the lengthy agenda as quickly
as possible, all persons wishing to address the Commission should give their
names to Mrs. Nita Gunter, of the Commission staff, and indicate the agenda item
they wanted to address.

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Licensure of Beds by Categories

Mr. Brooks stated that the staff recommended the adoption of the following
four licensure categories for hospital beds: general hospital beds, chemical
dependency unit beds, psychiatric unit beds and rehabilitation beds. Mr.
Brooks emphasized that the spectalty category designation would include

only those hospitals with permanent, dedicated beds intended for these
services and would not prevent (general) hospitals from treating episodic
illnesses in the other three categories.

Mr. Fletcher Crawford, Grenada County Hospital, stated that the medical staff
at Grenada County Hospital were concerned that licensure by the bed cate-
gories proposed would limit a hospital from admitting drug overdoses, patients
with alcohol problems or psychiatric cases. He stated the further concern
that treatment of such cases in a general hospital would be a factor in
malpractice suits or reimbursement determination.

Mr. Kemp responded that by definition the proposal permitted the treatment
of acute episodes of illnesses related to chemical dependency, rehabilitation
or psychiatry.

There was a general discussion regarding the 30-day average length of stay
definition with regard to specialty units. Mr. Wilford stated that an
“Intent to Approve” decision by the Commission would permit the staff to
make the policy available for public comment. A motion was made by Mrs.
Gallaspy, seconded by Mr. Darnell, to issue an “Intent to Approve” in regard
to the proposed bed licensure categories. There was no opposition, and the
motion carried.

. Criteria for Determining Need for Home Health Agencies

Mr. Pugh stated that the standards and criteria on which to base Certificate
of Need decisions with regard to home health agencies had received "Intent
to Adopt" approval at the January Commission meeting and had been made
available for public comment. He noted that the greatest point of conten-
tion had been the formula.for determining need. Mr. Pugh demonstrated the
application of the formula to several hypothetical county situations and
briefly discussed the following options: (1) Need to be determined on the
basis of counties not being served, five patients or fewer in a 12-month
period, and not on the basis of counties authorized to be served by an

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existing agency. (2A) Delicensure of counties in which agencies had not
rendered service in the past year though the agencies could continue to

serve patients already enrolled, (2B) Existing agencies would continue to

be licensed for all counties within their respective 50-mile radius with

new agencies being licensed only for those counties where a need was indicated.
(3B) Existing agencies would be licensed for al] counties within their 50-
mile radius and new agencies would be licensed for all counties within

their 50-mile radius..

Mr. Fletcher Crawford, director, Grenada County Hospital, stated that his
hospital had submitted an application for a home health agency 45 days

before the moratorium had been implemented and he requested that the applica-
tion be reviewed under the rules and regulations in effect at the time the
application was submitted. Mr. Crawford stated that if it were not possible
to grant his request, that the Commission consider exempting public hospitals
from the criteria and standards.

Mr. Don Baxter, administrator, South Mississippi Home Health Agency, stated
that since Mississippi had more home health agencies than any other state,
he did not feel that additional agencies were needed and asked if the
formula would indicate a need for more agencies.

Mr. Pugh responded that application of the formula had not produced a need
for agencies per se, but some need could exist when the formula was applied
to a particular county.

Dr. Cobb stated that the State Board of Health had elected to have each of
their county home health agencies certified separately and this had inflated
the total number of agencies in the State.

Mr. J. T. Gilbert, Central Mississippi Home Health Agency, stated opposition
to the factor that would allow delicensure of a county in an agency's
service area with five or fewer patients in a 12-month period. Mr. Gilbert
stated that since Federal regulations did not permit advertising or solici-
tation, demonstrated need of patients not being served would be a better
{indicator of adequate coverage in a given area than would an arbitrary
minimum number of patients.

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A motion was made by Dr. Cobb, seconded by Mr. Darnell, for the final
adoption of Criteria for Determining Need for Home Health Agencies in the
State to include Option 2B as presented by the staff. There was no opposi-
tion, and the motion carried.

4. Amendment to Home Health Agency Licensing Regulations

Mr. Kemp stated that a review of some of the wording in the new regulations
had indicated a need for revision and the committee that assisted in the
promulgation of the regulations was consulted and in certain places the
word "shall" was recommended to be changed to "preferably." Mr. Kemp stated
that the requested changes would make the regulations workable.

A motion was made by Dr. Cobb, seconded by Mrs. Gallaspy, to adopt the
licensing regulation word changes as recommended by staff under both the
emergency and regular provisions. There was no opposition, and the motion
carried,

5. Perinatal Policy Statement

Mrs. Jeanne Luckett, chairperson of the MHCC Perinatal Committee, stated that
the committee was most anxious that the Commission reaffirm its interest in
the work of the committee and strengthen the relationship between the
Commission and the Perinatal Committee. Mrs. Luckett discussed several of
the recommendations made by the Perinatal Committee to the Commission and
indicated that most of the recommendations had already been implemented.

Mrs. Luckett stated that the committee was particularly concerned that
adequate staff be made available to them. She indicated that reductions in
Federal funding for maternal and child health programs would necessitate
greater involvement by the Perinatal Committee in seeking ways to meet these
health needs. Mr. Brooks noted that the Commission staff was also being
affected by budget reductions but the staff would provide as much support

as possible. 907271

Mr. Wilford stated that one of the Perinatal Committee recommendations had
been that a member of the Commission participate in their meetings. He
indicated his willingness to attend Perinatal Committee meetings as often
as possible. Mr. Wilford stated that it was his understanding that the
Perinatal Committee wanted the Conmission to accept the Policy Statement and
endorse it as a general guideline for the relationship of the two groups.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF APRIL. 15, 1982 REGULAR MEETING NO. 35

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
April 15, 1982, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Oan Wilford, Chairman Mr, Thomas J. Brooks, IIT
Patrick Pierce, M.0., Vice Chairman Mr. Robert Pugh

Mrs. Sara Gallaspy, Secretary Mr. Don Gill

Alton B. Cobb, M.D. Mr. Mendal Kemp

Mr, John Allen Oarnel] Mrs. Nita Gunter

Bishop Joseph L. Howze Ms. Pam Caffey

Mr. Charles Penson Mr. Lary Daniels

Ms. Jacqueline Thames

Following a "hearing during the course of review" requested by the Biloxi Regional
Medical Center on its Certificate of Need application for a 48-bed chemical
dependency unit, the business meeting was called to order by the Chairman, Mr. Dan
Wilford.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
April 5, 1982, was read by Mrs. Sara Gallaspy, Commission Secretary.

Mr. Wilford asked for corrections or additions to the Minutes of the March 15,
1982 meeting; there were none. A motion was made by Bishop Howze, seconded by
Mrs. Gallaspy, for approval of the Minutes as written. There was no opposition,
and the motion carried.

QLD BUSINESS

Mr. Wilford stated that there were no items of Old Business on the agenda.

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Dr. Pierce recommended that’ the Commission Chairman correspond with Dr. Helen
Barnes, Chairman, Statewide Health Coordinating Council, to request that the
occupancy rate for hospitals with more than 200 beds be lowered to 80% and
that the method of computing bed need be reconsidered. There was general
agreement by all Commission members. Mr. Wilford asked the Director to follow
through on the recommendation.

2. Home Health Agency Certificate of Need Criteria

Mr. Brooks gave a brief background of the two options regarding home health
agencies that had been released for a 30-day public comment period, the first
being to declare a moratorium on the issuance of Certificates of Need for 12
months and the second being to not declare a moratorium but to consider
applications on the basis of general criteria in the State Health Plan. He
stated that as a result of the 30-day public comment period, the overwhelming
majority of responses had been in favor of the moratorium.

Mr. Brooks discussed the following statistics with reference to home health
agencies: (1) an average of 5.6 agencies was currently authorized to serve
each county in the State; (2) an average of 3.7 agencies per county served 5
or more patients during calendar year 1981; (3) an average of 3.1] agencies
per county served 10 or more patients during calendar year 1981; and (4) an
average of 2.2 agencies per county served 25 or more patients during calendar
year 1981.

Mr. Brooks stated that because of the number of home health agencies
currently authorized in the State, the following recommendation was made:

A moratorium on the issuance of Certificates of Need for additional
home health agencies shall hereby be in effect from April 15, 1982,
until December 31, 1982. For the licensure year beginning January 1,
1983, existing home health agencies shall be licensed for only those
counties in which they served ten or more patients during the
previous twelve-month reporting period.

Prior to the date of January 1, 1983, the Commission shal] determine
the need for additional home health agencies, based upon the results
stated above, it being the intent of the Commission that after
January 1, 1983, existing home health agencies shall be licensed for
only those counties which they are actually serving.

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Mr. Brooks stated that the only exception to the recommendation would. be the
consideration of the two applications received prior to the imposition of the
moratorium on home health agencies.

A motion was made by Dr. Pierce, seconded by Mr, Darnell, to accept the
recommendation regarding home health agencies and for the Commission to
consider the two applications cut off by the moratorium as soon as they could
be properly scheduled for review.

Mr. Wilford commented that it should be understood that the moratorium had
been initially established to provide an opportunity for the Commission to
gather the data necessary to evaluate the availability of home health services
in the State and that the continuation of the moratorium would be for the
purpose of not adding additional agencies until] the number of patients served
in each county by each agency could be determined.

Mr. Bill Nelson, President, Hospital Based Home Health Agencies, stated that
his hospital was licensed to provide home health services in surrounding
counties because the hospital drew patients from those areas. He also noted
that Methodist Rehab was licensed in many counties where they would: serve
fewer than 10 patients during a 12-month period, but specialized services
were offered by Methodist Rehab that could not be provided by the other

home health agencies.

Dr. Pierce stated his agreement that an exception should be made for the
specialized services porvided by Methodist Rehab.

Mr. Archie Lancaster with the Methodist Rehabilitation center, stated that’
it would not be in the best interest of patients needing the specialized care
their facility could provide to include Methodist Rehab in the recommendation.

Dr. Donald Booth, President, Mississippi Home Health Association, stated that
the MHHA supported the staff recommendation. He noted that there had been
many changes recently in regulations and administrative requirements for

home health agencies and the moratorium would provide an opportunity for

the compilation of data needed to determine need by geographic area.

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After further discussion regarding the intent of the proposed moratorium,
the vote on Dr. Pierce's motion was taken and there was no opposition with
two abstentions, Mr, Wilford and Dr. Cobb.

3. Greenwood-Leflore Hospital: Request for CON Extension Beyond 18 Months

Mr. Brooks stated that the Greenwood-Leflore Hospital had requested an
extension beyond the 12-month authorization on the Certificate of Need and
the 6-month extension allowable by law. Mr. Brooks indicated that the
reason for the delay with the construction of a surgical suite had been the
inability of the facility to sell the bonds needed for financing. He
Stated that even though the scope and intent of the project had not changed,
the only alternative was for an updated application to be submitted through
the usual review process.

Mr. Tom Askew, Director, Greenwood~Leflore Hospital, stated that the outline
to be followed for updating an application involved what he considered an
excessive amount of time by his staff and requested that the application be
reconsidered in the original format.

Mr. Pugh discussed some of the potential problems that could develop if the
application were not updated to conform to current criteria. He suggested
that an alternative would be for the Commission to adopt on an emergency
basis a new procedure and format for resubmission of applications.

A motion was made by Dr. Cobb, seconded by Dr. Pierce, that asimplified
format for the resubmission of applications, where the scope and intent had
not changed from the original submission, be developed for Commission
consideration and adoption. There was no opposition, and the motion carried.

4, Discussion of Request by Primary Medical Management, Inc. for Reconsideration

of 1122 Penalty.

Mr. Brooks gave a brief background of the events leading up to the request

by PMMI for reconsideration of a penalty imposed under Section 1122 review.
He stated that the transfer of ownership of Tom Bailey Memorial Hospital in
Maben had occurred prior to issuance of a Certificate of Need. Mr. Brooks

stated that Mr. Bradley had appealed the imposition of the federal penalty,
but the decision had not been overturned by the Department of Health and

Human Services.
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Mississippi Health Care Commission

Newsletter

No. 20 Published Monthly April 29, 1982

SUMMARY OF MAJOR CHANGES IN CERTIFICATE OF NEED LAW
(Senate Bills 2336 and 3015)

A summary of major amendments to Mississippi's Health Planning and Certificate of Need

Statute follows. All amendments, Senate Bills 3015 and 2336, became law April 23, 1982
(from and after passage), with the exception of 41 -7-191, the section dealing with the mora-
torium,which is effective July 1, 1982.

1.

2.

ELEVATION OF THRESHOLDS FOR CERTIFICATE OF NEED REVIEW: Projects will require Cer-
tificate of Need review only if they pass the following thresholds: (a) Capital
Expenditures excluding equipment, increased from $150,000 to $600,000. (b) Major
Equipment Capital Outlay increased from $150,000 to $400,000. (c) Institution of a
New Service with an annual éperating cost increased from $75,000 to $150,000.

Review of Pre-DeveLopment Activities no longer required.

Section 41-7-193(2) exempting Health Maintenance Onganizations (HM04} deleted (HMOs
now subject to review).

Commission given clear authority to use selected statistical data and information
obtained by the Commission in sarvorming the duties prescribed by Mississippi Licen-
sure and Certificate of Need laws and regulations. The provision that names of
individual patients shall not be revealed’ except in a hearing or judicial proceeding
regarding licensure is retained.

Language added to Section 41-7-191(1)(c) which would not allow use of the 10-bed or
10$ increase for more than $150,000. (In all other instances, the new increased
thresholds are in effect. With reference to this provision, however, capital expendi-
ture limits will remain at $150,000.)

Monatoniwn of issuance of Certificates of Need for nursin home beds extended for an
additional 12-month period, from July 1, 1982 to June 30, 1983, The reason for ex-
tension of the moratorium being that, at this time, the State Heal th Plan indicates no

need for additional nursing home beds. The next edition of the State Health-Plan is
now being prepared and the future need for nursing home beds is being evaluated.

Provision added in Section 41-7-191 allowing for use of the so-called "suing bed" con-
cept. Under this provision, the Commission may, during the period July 1, 1982 to
June 30, 1983, issue Certificate of Need approval for @ total of five general acute
care hospitals in the State, each having fewer than 50 beds, so that they may partici-
pate in a long-term care “swing bed demonstration project" as provided by a four-year
grant from the Robert Wood Johnson Foundation. Each of the five hospitals selected
ny not designate more than 50 percent of their beds to be used under the swing-bed
plan.

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8. Provision added (Section 41-7-193) requiring that Certificate of Need 4 ow.
Lime, within the time allowed, that such fect shall be functional and operation
according to a time schedule submitted with the application. Each Certificate oy:
Need shall specify the maximum amount of capital expenditure that may be: ob] igated
and the Commission shall periodically review progress of the time schedule of any
party to whom a Certificate of Need has been issued.

9. Review provision added (Section 41-7-195) (5) allowing the Commission to approve or
dis ve a Certificate of Need application in its entinety or in part, by reduc-
tion oniy. if the proponent agrees to such modification.

10. Pertaining to request for a "good cause” hearing, the Commission has 45, increased
from 30, days from receipt of the request to actually stage the hearing. Further,
the Commission shall render its decision and make written findings following the
good cause hearing within 30 days, reduced from 45, after the hearing, by written
order and in its Minutes.

11. Thresholds for "Non-Substantive Reviews" (Section 41-7-205) increased for major
medical equipment from $300, to :000 and for any other proposed. capital ex-
penditure from $300,000 to $700,000.

12. New section added which will a£ZLow the Commission to Levy fees for review of Cer-
tificate of Need applications in the event that federal funding for Health Planning
js terminated or reduced by 25% or more for the coming year.

NOTE

Henceforth, Commission review of End Stage Renal Disease (ESRD) Stations
will extend only to instances in which an applicant desires to initiate
a “new service,” relocate a facility, or in which a threshold for review
is crossed. Expansion of an existing facility (not relocating and not
offering of a "new service") without passing one of the new elevated ex-
penditure thresholds, will not be subject to Certificate of Need review.

PUBLIC HEARING SCHEDULED
FOR STATE HEALTH PLAN

Notice to the general public has been
given that the preliminary State Health
Plan is available for review and comment
and that a public hearing has been sched-
uled for 9:00 A.M., May 27, 1982, at the
MHCC offices. A copy of the Plan can be
reviewed on site during the normal busi-
ness hours or parts copied for a fee.

Comments can be given orally at the
public hearing or written and submitted at
any time prior to May 28. All comments
will be considered by the Statewide Health
Coordinating Council before final approval
of the Plan.

NEXT COMMISSION MEETING
MAY 20, 1982
10:00 A.M,

NEW REGULATIONS FOR
CHEMICAL DEPENDENCY UNITS

MHCC voted at its April meeting to
distribute a preliminary draft set of
standards for Chemical Dependency Units
to the public and providers of health
care and solicit comments.

CDUs may be Distinct Parts of hos-
pitals or free-standing. The standards
Will be amendments to the current Mini-
mum Standards of Operation for Missis-
sippi Hospitals. .Your constructive
criticism and comments will be greatly
appreciated. Please send these com-
ments to Mendal Kemp, Chief, Division
of Licensure and Certification, MHCC,
2688 Insurance Center Drive, Jackson,
Mississippi 39216.

PLAINTIFFS002835
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“NOTE: THIS SERVES TO NOTIFY ALL AFFECTED PERSONS.

HEALTH CARE COMMISSION ACTION
ON
HOME HEALTH

For a period of 30 days, beginning the day after the
March Commission meeting, the Commission considered
various options regarding the need or lack of need
for additional home health agencies in the State. At
the meeting on April 15, 1982 the Commission adopted
the following:

WHEREAS, an average of 5.6 home health agencies is authorized to serve each
Mississippi county, indicating ample coverage; and

WHEREAS, there presently exists in most areas of the State adequate competi-
tion for home health patients, and

WHEREAS, there presently exists in Mississippi significant competition for
staff, especially registered nurse staff, to serve home health agencies and other
health facilities, and WHEREAS additional agencies would further increase compe-
tition for staff, thereby further increasing costs; and

WHEREAS, there is presently in Mississippi significant unused capacity
for expansion of existing home health agencies; and

WHEREAS, duplication of administrative overhead and expenses necessitated
by an over-supply of home health agencies increases health care costs.

NOW, THEREFORE, be it resolved by the Mississippi Health Care Commission
that sufficient home health agencies presently exist in Mississippi.

THE COMMISSION, for the reasons stated above, hereby adopts the following
policy:

A moratorium on the issuance of Certificates of Need for
additional home health agencies shall hereby be in
effect from April 15, 1982 until December 31, 1982, For
the licensure year beginning January 1, 1983, existing
home health agencies shall be licensed for only those
counties in which they served ten or- more patients
during the previous twelve-month reporting period.

Prior to the date of January 1, 1983 the Commission shal]
determine the need for additional home healthagencies,
based upon the results stated above, it being the intent
of the Commission that after January 1, 1983 existing
home health agencies shal] be licensed for only those
counties which they are actually serving.

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PERINATAL COMMITTEE
MEETING RE-~SCHEDULED

The meeting of the Commission's Perinatal Committee
scheduled for May 4, 198Z has been canceled.

The next meeting of the Committee will be atl2:00
noon or June 1, 1982 in the MHCC office.

APPEAL OF COMMISSION'S ORDER

Humana, Inc, of Kentucky, parent organization of Hu-
mana of Mississippi, Inc., owner of "Doctors Hospital of
Jackson," has appealed the Commission's order of
March 18, 1982 in which it approved a Certificate of
Need for Lifemark Recovery Centers of Jackson, Inc. to
establish a 40-bed free-standing treatment facility for
persons addicted to alcohol.

This appeal was properly made to the Commission for
the Administrative Appeals Judge and the “record” devel-
oped regarding the “Lifemark" application {s now being
certified to the Judge.

MISS PAM CAFFEY JOINS PLANNING STAFF

Miss Pam Caffey has recently joined the Commission
staff in the Division of Planning and Resource Develop-
ment. She is serving as Section Leader for the Certifi-
cate of Need function.

Miss Caffey is a registered pharmacist and received
the Master of Health Care Administration degree from the
University of Mississippi in 1980. Jackson has been the
location of her experience in hospital and health care
administration for the past two years.

Effective immediately, ali inquiries by telephone or
in person regarding Certificates of Need should be di-
rected to Miss Caffey or ta Mr. Robert Pugh, Division
Chief.

WISSISSIPP! HEALTH CARE COMMISSION
1688 Insurance Center Dr.
Jackson, MS 39216

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APRIL COMMISSION ACTION

The following applications received Intent to Apprave
action:

Northeast Mississipp! Hospital, Booneville: Lease to
Baptist Hanerie} Hospital, Booneville ($743,904).
St. Dominic Dialysis Center, Inc., Jackson: Change of

ownership T3400 000),

PROJECTS TO BE REVIEWED AT MAY 20 MEETING
CINCLUDING FOUR PROJECTS DEFERRED IN APRIL

Bilox# Regional Medica) Center (DEFERRED)
Biloxi Psychiatric Hospital (DEFERRED)
30-bed Psyc. and subs. abuse facility ($4,709,940).
Gulf Coast Community Hospital, Biloxi (DEFERRED)
66-bed psyc, aaa Subs. abuse facility ($3,567,000),
Sand Hill, Gulfport {DEFERRED)
b0-bed psyc, hospital ($3,410,000).
Singing River Hospital, Pascagoula: Replace air con-
aongyitrontng unit (278,000.

Vicksburg Hospital Inc.: New service - CT scanner

Oxford-Lafayette County Hospital, Oxford: New service -
CT Scanner (t59.40 )

0
Mercy Regional Medical Center, Vicksburg:
ew service: canner ($864,400)
2) New service: 40-bed CDU ($1,790,241)
3) Renovation/expansion- no beds ($8,561,945)

Biloxi Regional Medical Center: Renovation and con-
struction - no beds ($3,693,331)

Humphreys County Memorial Hospital: Acquisition of
Belzoni Hospital and Gelzoni Nursing Home
($2,000,000)

Bulk Rate
U.S. Postage

PAID
Jackson. MS
Permit 4367

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MISSISSIPPI HEALTH CARE COMMISSION DR A Fr

MEETING

MINUTES OF MAY 20, 1982 REGULAR MEETING NO. 36

A regular .meéting of the Mississippi Health Care Commission was held on Thursday,
May 20, 1982, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman: Mr. Thomas J. Brooks, ITI
Patrick Pierce, M.D., Vice Chairman Mr. Robert Pugh
Mrs. Sara Gallaspy, Secretary Mr. Don Gill
Alton B. Cobb, M.D. Mr. Mendal Kemp
Mr. John Allen Darnell Mrs. Nita Gunter
Bishop Joseph L. Howze Ms. Pam Caffey

Mr. Lary Daniels
Commission Member Absent Ms. Jacqueline Thames

Mr. Charies Penson

Representative from Attorney General's Office

Mr. W. D. Coleman, Attorney at Law

The meeting was called to order by the Chairman, Mr, Dan Wilford. The
invocation was given by Bishop Howze.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
May 7, 1982, was read by Mrs. Sara Gallaspy, Commission Secretary.

Mr. Wilford asked for corrections or additions: to the Minutes of the April 15,
1982, meeting; there were none. A motion was made by Bishop Howze, seconded by
Mrs. Gallaspy, to approve the Minutes as written. There was no opposition, and
the motion carried.

OLD BUSINESS

1. Biloxi Regional Medical Center. New service: 48-bed chemical dependency
unit.

2. Biloxi Psychiatric Hospital. Construction of 60-bed psychiatric and sub-
stance abuse facility.

3. Sand Hill, Gulfport. Construction of 60-bed adolescent psychiatric hospital.
PLAINTIFFS002867 -

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“MINUTES OF MEETING

Mississippi Health Care Commission
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Standards for Operation of "Swing Beds" in Mississippi Hospitals

Mr. Brooks stated that Standards for licensing "swing beds" had been drafted
and the staff recommended that the Standards be released for a 30-day public
comment period.

Mr. Kemp stated that the object of the Standards was not to place an obstacle
in front of the experimental "swing bed" project, but to ensure that
patients remaining in a hospital for an extended stay received adequate

care. He noted that this included the provision of a day room, dining room
and activity programs suited to the interests of the patients.

A motion was made by Dr. Pierce, seconded by Mrs. Gallaspy, to release the
Standards for a 30-day public comment period as recommended by staff. There
was no opposition, and the motion carried.

Preliminary State Health Plan

Mrs. Nita Gunter stated that on the basis of the discussion of the Plan at
the April: Commission meeting, the farmula for determining bed need was re-
viewed and a Work Group of the Statewide Health Coordinating Council agreed
to the following:

a. Use 80% occupancy rate for all hospitals, with close monitoring to
determine the reliability of this percentage for continued use in the
formula.

b. Set 6.2 days as the average length of stay (ALOS) with certain exceptions
that could be considered, such as the age of the patient population,
the education and income status of clientele, and the nature of the
treatment received.

Mrs. Gunter indicated that there were three other factors that could be

considered in determining the growth needs of hospitals:

a. Population projections over the next 10 years.

b, Indigent care provided that was equal to or greater than the amount
required in the Hill-Burton formula for indigent care.

c. Conformity with licensure standards.

There was a discussion regarding the need to include an indigent care

formula for hospitals not covered in the Hill-Burton category. Mrs. Gunter
stated that the Hil?-Burton formula was an amount equal to 3% of the operating
budget of the facility, less Medicare and Medicaid reimbursement, or 10% of

the federal construction aid. PLAINTIFFS002881
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Dr. Pierce suggested that the 3% formula should be applied to all hospitals.
After further discussion of the bed need formula, a motion was made by Mrs.
Gallaspy, seconded by Dr. Pierce, to approve the Preliminary State Health
Plan. There was no opposition, and the motion carried.

6. Moratorium on Issuance of Certificates of Need for Home Health Agencies

Mr. Brooks stated that the Commission at the April meeting had taken “Intent
to Adopt" action on the moratorium which was to be in effect from April 15,
1982 through December 31, 1982. He indicated that final action of the
Commission was recommended.

A motion was made by Dr. Pierce, seconded by Mr. Darnell, to take final
adoption action on the moratorium regarding home health agencies. There was
no opposition, and the motion carried.

7. June Commission Meeting

Three of the six Commission members present stated that they would not be
able to attend the June meeting if it were held on the third Thursday,
June 17. After discussion of other possible dates, it was agreed that the
June meeting of the Health Care Commission would be on June 24, 1982.

8. Release by Staff of Addresses and TelephoneNumbers of Commissioners

Mr. Brooks stated that due to the increasing number of requests for addresses
and telephone numbers of Commission members, the staff would like the Com-
mission to provide some guidance in this regard. There was general agreement
by all Commission members that it was satisfactory for the staff to continue
to provide such information upon request.

NEXT MEETING: June 24, 1982

ATTEST:

Dan Wilford, Chairman Mrs. Sara Gallaspy, Commission Secretary

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF NOVEMBER 18, 1982 REGULAR MEETING NO. 41

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
November 18, 1982, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Patrick Pierce, M.0., Vice Chairman Mr. Robert Pugh
Mrs. Sara Gallaspy, Secretary Mr. Mendal Kemp
Mr. John Allen Darnell Mr. Lary Danfels
Alton B,. Cobb, M.D. Mrs. Pam Ashley
Mr. Charles Penson Mrs. Nita Gunter

Ms. Jacqueline Thames
Mrs. Martha Yeager
Commission Member Absent

Bishop Joseph L. Howze

Representative from
Attorney General's Office

Mr. W. D0. Coleman, Attorney at Law

The meeting was called to order by the Chairman, Mr. Dan Wilford. The invocation
was given by Mr. Charles Penson.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
November 6, 1982, was read by the Commission Secretary, Mrs. Sara Gallaspy.

Mr. Wilford asked for corrections or additions to the Minutes of the October 21,
1982, meeting; there were none. A motion was made by Mr. Darnell, seconded by
Mrs. Gallaspy, to approve the Minutes as written. There was no opposition, and
the motion carried.

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3. Home Health Policy

Mr. Brooks stated that a moratorium on the issuance of Certificates of Need

for home health agencies had been imposed to give the staff an opportunity

to study the needs in this area and to bring to the Commission a recommendation
to be effective January 1, 1983. He indicated that after review of methods
used in other states to deal with the matter, staff had concluded that a pure
formula approach would not be feasible. Mr. Brooks stated that the staff
recommended a policy where, with certain guidelines and criteria, each
application would be evaluated on its own merits. He indicated that the

staff recommended that provider preference alone would not constitute sufficient
reason for for an additional agency in any area.

Mr. Brooks briefly discussed the following proposed recommendations regarding
home health agencies:

1. It shall be the policy of the Mississippi Health Care Commission that,
as of January 1, 1983, home health agencies shall be licensed to do
business in only those counties in which 10 or more patients were
served during the pertod January 1, 1982 - December 31, 1982. As of
January 1, 1984, home health agencies shall be licensed to do business
in only those counties in which 25 or more patients were served during
the period January 1, 1983 - December 31, 1983. Newly approved agencies

| or subunits shall be required to meet the 25 volume standard, in each
: county served, after completion of the initial full 12-month licensure
period.

2. Optional:

Certificate of Need approvals shal] be limited to only those counties
in which (2 or fewer) (3 or fewer) (4 or fewer) licensed agencies exist.

3. As of January 1, 1984, only those home health agencies or subunits in
which a total caseload of 100 patients or more was maintained during
the period January 1, 1983 - December 31, 1983 shall be licensed.

4. Because of the importance of accessibility to care for indigent patients,
county health departments are exempt from compliance with items ] and 3
above. (It is expected that very few health departments will be
affected by this provision in any event.)

Mr. Brooks stated that currently an average of 5.6 home health agencies were

licensed in each county and to avoid permanently franchasing existing agencies,

minimum caseloads per county should be established to assure that the agencies
were serving an adequate volume of patients. Mr. Brooks recommended that
there be only two Certificate of Need review cycles per year for home health
agency applications since it was anticipated that there would be competing
applications in some areas of the state and the two cycles would make review
of the applications more efficient.

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The following individuals addressed the Commission with regard to the pro-
posed home health policy:

Ms. Elaine Burchfield, president of the Home Health Association, made the
following comments: (1) Lack of patient census in a county did not accurately
reflect the need for delicensing of an established agency. (2) Review of
Certificate of Need applications be limited to only those counties in which
two or fewer licensed agencies exist, with consideration to the aged popu-
lation. (3) Any agency that met licensure and certification standards,
rendered quality service and was cost effective should not be judged according
to caseload. (4) All agencies providing indigent care should be given the
same consideration as the staff recommended for the State Board of Health.

Ms. Burchfield requested that the Commission defer action on the home health
policy until the December meeting to give members of the Home Health Associa-
tion an opportunity to formulate and present to the Planning staff recommenda-
tions to better enable the policy to guide home health delivery in the future.

Ms. Cathey P. Stitt, executive director, The Visiting Nurse Association of
Memphis, requested that the Commission revise the proposed home health policy
to consider the Visiting Nurse Association fn the same category with the State
Board of Health because of accessibility of care to the indigent. She stated
that the VNA would lose its license in four Mississippi counties under the
proposed policy. Ms. Stitt stated that the Visiting Nurse Assocfation of
Memphis had been approved to receive $149,000 in United Way funds for Fiscal
Year 1983 and it was anticipated that an increased number of indigent patients
would be visited in those four Mississippi counties in the near future.

Ms. Marilyn Williams, Mississippi Hospital Association, stated that the

MHA supported the lifting of the moratorium on issuance of Certificates of
Need for home health agencies. She indicated that to state that no agency
would be approved on the basis of provider preference was too firm a state-
ment. Ms. Williams stated that different types of providers and competition
between providers was needed in the health services industry.

Mr. Tim Crowley, Crosby Memorial Hospital, stated that he was representing
the Mississippi Hospital Association which recommended that hospital-based
home health agencies have the same service area as the hospital had. He
stated that the consumer of health care should be given a preference and
though provider preference should not be the sole basis for approving or

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disapproving an application, it should be taken into consideration. Mr.
Crowley stated that better continuity of care was possible through a

hospital-based home health agency rather than a free-standing agency.

Mr. Don Baxter, South Mississippi Home Health Agency, stated that there were
sufficient home health agencies serving the State at the present time. He
suggested that a formula be developed to show the percentage of a home health
agency's budget expended for indigent care and all agencies with an indigent
care percentage equal to or more than that of the State Board of Heaith be
exempted from the caseload minimums, as had been recommended for the Board

of Health. Mr. Baxter suggested that the policy be written to include a pro-
vision that in any county where an agency had been delicensed that another
agency would not be considered jin that county for a period of one or two years.
Mr, Baxter indicated that with the cost limitations built into the reimburse-
ment system it was his opinion that any agency that could maintain a viable
operation should be allowed to do so.

Mable T. Garner, M.D., Camden. Dr. Garner spoke in favor of the Commission
receiving applications for new home health agencies.. She stated that there
were rural areas in which home health services were needed.

Dr. Cobb commented that the State Board of Health would have public health
nurses in all counties who would be making home health visits in connection
with ongoing programs of the Board of Health whether or not they were exempt
from the proposed home health policy. He stated that reimbursement for such
visits allowed the Board of Health to expand services, but he would not ask
for special consideration.

Mr. Brooks recommended initial adoption of the home health agency policy so
that it could be made available for public comment. After a discussion between
Commission and staff, it was agreed that the optional recommendation be
included in the policy to read: "Certificate of Need approvals shall be
limited to only those counties in which 3 or fewer licensed agencies exist."

After further discussion of the policy, a motion was made by Mr. Penson,
seconded by Dr. Cobb, to adopt the home health agency policy and release
it for public review and comment. There was no opposition, and the motion
carried.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF DECEMBER 16, 1982 REGULAR MEETING NO. 42

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
December 16, 1982, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Patrick Pierce, M.D., Vice Chairman Mr. Robert Pugh

Mrs. Sara Gallaspy, Secretary Mr. Mendal Kemp

Alton B. Cobb, M.D. Mr. Festus Simkins

Mr. John Allen Darnell Mrs. Pam Ashley

Bishop Joseph L. Howze Mr. Lary Daniels

Mr, Charles Penson Mrs. Nita Gunter

Mrs. Martha Yeager

The meeting was called to order by the Chairman, Mr. Dan Wilford. The invocation
was given by Bishop Howze.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
December 4, 1982, was read by the Commission Secretary, Mrs. Sara Gallaspy.

Mr. Wilford asked for corrections or additions to the Minutes of the November 18,
1982, meeting; there were none. A motion was made by Mrs. Gallaspy, seconded by
Mr. Penson, to approve the Minutes as written. There was no opposition, and the
motion carried.

OLD BUSINESS

Mr. Wilford stated that there were no items of Old Business for Commission
consideration.

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ANUTES OF MEETING
Mississippi Health Care Commission
December 16, 1982

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5. Home Health: Certificate of Need Policy

Mr. Brooks discussed the following modifications to the home health policy
proposal and commented that the changes had received favorable comment by
a the Statewide Health Coordinating Council: - .

a. A Profile of every county in the state would be developed, with two
key factors being (1) the number of patients served per 1,000 popula-
tion aged 65 and over and (2) the number of home health agencies,
actually serving 10 patients or more in Calendar Year 1982, per 1,000
population aged 65 and over,

b. No delicensure of agencies serving fewer than 10 patients in a given
county, but the inclusion of such agencies when determining need, thus
creating an incentive for all agencies to become active in all authorized
counties.

Mr. Brooks stated that the other criteria for determination of need basically
were the same as recommended at the November meeting. He commented that
suggestions from the Mississippi Hospital Association had not been received
in time for a thorough review, but there appeared to be a couple of points
that would bear further study.

Mr. Brooks recommended that the proposed home health policy be adopted by
the Commission with the intent of implementing it after receipt of licensure
information required for the development of the county profiles. He stated
that the licensure information was due by February 1, 1983 and the county
profiles should be available for presentation to the Commission at the
February meeting. Mr. Brooks further noted that the MHA proposal could be
reviewed prior to the January Commission meeting and any modifications
resulting from that review could be presented jn January. Mr. Brooks

stated that it was also recommended that no home health agency applications
be considered by the Commission until the policy had been adopted.

Ms. Marilyn Williams, Mississippi Hospital Association, stated that in the
past MHA had been criticized for only commenting on proposals and not
presenting alternatives for consideration. She stated that in this case,
MHA alternatives had been proferred. Ms. Williams indicated that MHA had
only received a copy of the proposed policy a few days before the Com-
mission meeting and had responded in as timely a manner as was possible.

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Ms. Williams stated that the major differences between the recommended
Proposal and MHA view were the following: (1) All items in the formula for
the determination of need should be given equal weight; (2) Internal factors
should also be considered in the formula; (3) The number of agencies per
1,000 population aged 65 and over would not provide a valid determination
of need since some agencies in a given county could be serving 10 patients
while others could be serving 100 patients; (4) The differences in services
provided by existing agencies should be considered; (5) Average cost per
patient served as well as the average cost per visit should be considered.

Ms. Elaine Burchfield, president, Mississippi Home Health Association,
stated that the MHHA represented 80% of the home health providers in Missis-
Sippi and supported the proposed policy. She indicated that the MHHA
recommended that the policy be reviewed in one year and changes made as
might be indicated after a one-year period of implementation.

Myr. Don Baxter inquired as to whether or not there would be an opportunity
for interested parties to comment on any changes that the staff might
present to the Commission after review of the Mississippi Hospital Associa-
tion recommendations and Mr. Wilford assured Mr. Baxter that an opportunity
for comments would be provided on any changes proposed to the Commission.

A motion was made by Mr. Penson, seconded by Mr. Darnell, that the policy

on home health be adopted as recommended by the staff and that the Commission
not consider any home health applications until implementation of the policy,
after compilation of the county profiles on home health. There was no
Opposition, and the motion carried.

NEXT MEETING: January 20, 1983

ATTEST:

Dan Wilford, Chairman Mrs. Sara Gallaspy, Commission Secretary

a PLAINTIFFS003052
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Discussion of CON Policy
Utilization
Another 60-Day Extenstion

February 17, 1983
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DRAFT

MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF FEBRUARY 17, 1983 REGULAR MEETING NO. 44

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
February 17, 1983, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman Mr. Thomas J. Brooks, III
Alton B. Cobb, M.D. Mr. Robert Pugh
Mr. John Allen Darnell Mr, Don Gill
Bishop Joseph L. Howze Mr. Menda} Kemp

Mrs. Nita Gunter
Commission Members Absent Mrs. Martha Yeager

Patrick Pierce, M.D., Vice Chairman
Mrs. Sara Gallaspy, Secretary
Mr. Charles Penson

The meeting was called to order by the Chairman, Mr. Dan Wilford.

Mr. Wilford announced that Mrs. Gallaspy was not present due to the death of her
husband earlier in the week. He requested that a moment of silence be observed
in memory of Mr. Gallaspy, after which Bishop Howze gave the invocation.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
February 4, 1983, was read by Chairman Wilford.

Mr. Wilford asked for corrections or additions to the Minutes of the January 20,
1983 meeting; there were none. A motion was made by Dr. Cobb, seconded by Bishop
Howze, to approve the Minutes as written. There was no opposition, and the
motion carried.

QLD BUSINESS

1. Tupelo General Hospital (previously disapproved application)

Mr. Wilford, Commission Chairman, stated that due to his affiliation with
a Tupelo hospital in opposition to the proposed project, he would recuse
himself from both the discussion and vote on the request for reconsideration

of the Commission's previous disapproval of the project.

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money spent on it in order to maintain compliance with Licensure standards.
To a question by Dr. Cobb, Mr. Tomkins stated that the approximate increase
in cost of care per day under alternative four as opposed to the original

proposal was $3.00.

-
Mr. Brooks stated that of major concern to the staff wee the overbedding
already existing in the area and the sustained low occupancy rate of the

hospital. He indicated that alternative four would create a situation where

even additional overbedding could result due to the shelled-in space. To that

comment, Mr. Tomkins stated that under the 10 bed/10% rule, the hospital

could continue to add to its bed complement even without the shelled-in space.

There was a discussion among Commission members and staff regarding the two

proposals. A motion was made by Dr. Cobb, seconded by Bishop Howze, to approve

the alternative proposal as preferred by the proponent rather than the
original proposal recommended by staff. There was no opposition, and the
motion carried.

COMMISSION BUSINESS

1. Home Health: Certificate of Need Policy

Mr. Brooks noted that staff had further studied the Home Health Policy proposal]

considered at the January meeting and after further review of the recommenda-

tions from the Mississippi Hospital Association had included the following

criteria:

Item 2e(3): Average cost per patient based on the average number of visits —
per patient.

Item 2f: Information concerning whether or not proposed agencies would
provide services different from those available from existing
agencies.

Mr. Brooks discussed the two options proposed for Commission consideration.
Under the first option, only those counties below the state average of number
of patients per 1,000 population 65 and over and counties in which the number

of home health agencies serving 10 patients or more per 1,000 population 65 and

over was less than the state average would be considered as having a possible
need for new or expanded home health agencies. Mr. Brooks stated that under

the first option, only 25 counties might be shown to have need at the present
time,

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Mr. Brooks stated that under the second option, the average number of patients
per 1,000 population 65 and over and the number of home health agencies serving
10 patients or more per 1,000 population would simply be considered along with
the other criteria. Mr. Brooks stated that under the second option, no county
in the state would be prohibited from consideration for new or expanded home
health agencies.

Mr. Brooks distributed a chart depicting "Medicare Enrollees as of July 1,
1979 and Medicare Visits by Home Health Care for Calendar Year 1978 for the
United States and Selected Areas" and noted the much higher number of visits
for Mississippi Medicare enrollees than in the other states listed on the
chart (Alabama, Arkansas, Georgia, Kentucky, Louisiana and Tennessee). Mr.
Brooks noted that the statistics presented in the chart supported the staff's
position that Mississippi had extensive utilization of home health services.

Dr. Cobb stated that when the utilization of home health services in Missis-
sippi was considered, the state average might be higher than the desired level
of utilization.

The following individuals addressed the Commission:

Mr. Don Baxter, member of the National Association of Home Care Board of
Directors and administrator, South Mississipp{ Home Health and Rehabilitation
Center, stated that the statistics indicated an over-saturation of home health
providers and no additional agencies were needed in the State at the present
time. Mr, Baxter noted that according to reports submitted by all home

health agencies in the state, only 11 people had not been able to receive home
health care last year from the first agency contacted.

Ms. Marilyn Williams, Mississippi Hospital Association, stated that MHC pre-
ferred the option where all the criteria would be weighed against each in-
dividual application and no proponent would be eliminated from consideration
simply on the basis of two "cut off" criteria.

Dr. Ed Thompson, Deputy Chief of Personal Services, State Department of Health,
stated support for the staff's position that, basically, adequate home health
services were available in Mississippi and there was a need for establishing
criteria that would prevent the unnecessary proliferation of such services.
Dr. Thompson expressed disagreement with the proposed

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threshold of using a state average for determining need. He noted that there
would always be counties falling below the average and as agencies were added
to those counties, resulting in a changed average, other counties would show a
need. Dr. Thompson stated that previously a concrete threshold of .5 agencies
per 1,000 population 65 and over had been considered and he urged that the
Commission use that or some other appropriate threshold rather than a state
average.

Dr. Bill Moore, representing the Mississippi Home Health Association, stated
that increasing the number of home health agencies would increase the cost to
taxpayers. He noted that existing home health agencies had the capability of
increasing the number of patients served by at least 25% which meant, in his
opinion, that there was no need for additional home health agencies in the
State. On behalf of the Home Health Association, Dr. Moore urged that the
Commission either continue the moratorium on new or expanded agencies for
another year or use a more realistic threshold than a state average of visits
or agencies to determine need.

Dr. Cobb suggested that a norm based on utilization in the Southeastern Region
be used as a threshold.

Ms. Elaine Burchfield, president, Mississippi Home Health Association, stated
surprise that the “pockets of need" referred to in the proposed policy had
actually turned out to be 25 or 30% of the State. She requested that the
Commission review the information received from home health agencies to
determine if the "pockets of need" were really as extensive as depicted,

Mr. Mark Alexander, Alexander's Home Health Agency, stated that in his
opinion the ideal set of data for determining need would be the number of
patients in a county who had not been able to receive home health services.
Mr. Alexander stated that this information was available from the annual
reports submitted by all home health agencies and if more frequent data were
desirable, reports could be submitted on a quarterly or semi-annual basis.

Mr. Pugh stated that previously a formula had been suggested whereby no
need for additional agencies would be shown in counties with .5 or more
licensed agencies per 1,000 population 65 and over. He noted that the
problem encountered with such a formula was that only existing licensed
agencies were being measured and that measurement did not reflect the
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need for services, but only reflected the number of agencies. Mr. Pugh noted
that the staff had attempted to develop a policy which was more in line with
actual utilization of agencies rather than just the number of agencies in a
county.

Mr. Brooks stated that due to the large variation in the size of agencies, it
would probably not be possible to ever develop a-formula that would as closely
define the need for home health agencies as could be projected for hospital
beds, He noted that should there be 1,000 patients to be served in a par-
ticular county, it would be difficult to recommend whether two agencies
serving 500 patients each or ten agencies serving 100 patients each would be
the better solution to meet the needs in the county.

There was further discussion regarding the data needed from which an appro-
priate threshold could be set. Mr. Brooks summarized the suggestions and
stated that the staff would research methods to give consideration to comparing
Mississippi home health visits per 1,000 population 65 and over, by county,
with the Southeastern norm for Medicare enrollees. There was consensus among
Commission members that Mr. Brooks had accurately stated the information
desired by the Commission.

Mr. Pugh stated that data on home health visits provided on the annual report
was by agency and not by county and such information would be needed before
the established norm could be applied to each county. There was discussion
regarding the collection of such data and it was agreed that the home health
agencies would be requested to provide the needed information.

Mr. Pugh stated that the Commission had adopted a policy at the December 16,
1982 meeting whereby home health applications would not be considered until
implementation of a Certificate of Need policy regarding the review of such
applications. Mr. Pugh noted that at the December 1982 meeting, it had been
assumed that such a policy would be adopted at the February 1983 meeting. Mr.
Pugh requested guidance from the Commission on this issue.

A motion was made by Dr. Cobb, seconded by Mr. Darnell, to continue for 60
days the policy of not receiving applications for new or expanded home health
agencies. There was no opposition, and the motion carried.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

_ MINUTES OF MARCH 17, 1983 REGULAR MEETING NO. 45

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
March 17, 1983, {n the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Member's. Present Commission Staff Present
Patrick Pierce, M.D., Vice Chairman Mr. Thomas J. Brooks, III
Mrs. Sara Gallaspy, Secretary Mr. Robert Pugh

Alton 8. Cobb, M.D. Mr. Mendal Kemp

Mr. John Allen Darnell Mr. Don Gill

Bishop Joseph L. Howze Mrs. Martha Yeager

Mr. Charles Penson *

*Mr. Penson arrived at the beginning of the discussion of the Beverly Enterprises
agenda item.

Commission Member Absent

Mr. Dan Wilford, Chairman

The meeting was called to order by the Vice Chairman, Dr, Patrick Pierce. Or. Pierce
noted that the absence of the Commission Chairman, Mr. Dan Wilford, was due to Mr.
Wilford's being in Washington, D. C.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
March 5,'1983, was read by Mrs. Gallaspy, Commission Secretary.

Dr. Pierce asked for corrections or additions to the Minutes of the February 17, 1983
meeting; there were none. A motion was made by Mr. Darnell, seconded by Bishop
Howze, to approve the Minutes as written. There was no opposition, and the motion
carried,

CERTIFICATE OF NEED APPLICATIONS

1. Rush Hospital, Newton

Mr. Brooks stated that the proposal was for the addition of physical therapy
services for a capital expenditure of $19,011. He indicated that the staff
recommended approval of the project.

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part of the cost of the JCAH survey during the experiment. Mr. Kemp noted
that the survey would consist of one nurse surveyor spending one day ina
facility every two years. He indicated that the MHCC Licensure Division would
still have to investigate all complaints, review and approve renovation plans
and respond to state officials and the public on the care given in all nursing
homes.

There was a consensus of Commissioners that the staff should further explore
the proposal and make a recommendation at the April meeting.

3. Home Health

Mr, Brooks stated that at a joint meeting of representatives of the Statewide
Health Coordinating Council, Health Systems Agency, and Health Care Commission
held on March 16, 1983, the recommendation was made that the following criterion
be used in the State Health Plan as an initial screen for determining the need
for additional or expanded home health agencies:

“ "The first criterion of need for additional or expanded home health agencies
will be a determination of Mississippi counties having fewer (actual) home
health visits per 1,000 persons 65 and over than -the average number of Medicare
(projected) paid home health visits per 1,000 persons 65 and over for the
ten-state Southeastern Region in 1982." .

Mr. Brooks stated that after applying the recommended screen criterion, 7
counties in the State were shown to have statistical need for additional or
expanded home health agencies. He indicated that applicants meeting the
screen criterion would still have to satisfy the other need criteria as
previously discussed.

Mr. Brooks recommended that the proposed screen criterion be adopted under
the “intent to adopt" and emergency provisions so that the staff would be in
a position to review Certificate of Need applications for this service.

A motion was made by Bishop Howze, seconded by Mr. Darnell, to approve the
proposal under both the “intent to adopt" and emergency provisions. There
was no opposition, and the motion carried.

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Mr. Pugh asked if the action taken by the Commission meant that applications
could be received even though pending legislation included a moratorium on
issuance of Certificates of Need for new health care facilities.

Dr. Pierce stated that he would recommend for inclusion in the Minutes a
statement that even though the Commission would receive applications for new
or expanded home health agencies in a county meeting the initial screen
criterion, action would not be taken on the application in the event that the
Legislature passed a bil] extending the moratorium. There was no opposition
to the recommendation,

Later in the meeting, Dr. Bill Moore, representing the Mississippi Home

Health Association, stated that it had been the understanding of the Association
that the number of persons served per 1,000 persons 65 and over would also be
used aS a screen criterion.

Mr. Brooks stated that he would recommend that the single screen criterion
adopted earlier in the meeting not be changed and that after a period of
evaluation, a second screen criterion could be added if the Commission chose
to be ‘more restrictive with regard to accepting applications for review.

The Commission members agreed that the policy should remain as earlier adopted.

4, Certificate of Need Quarterly Review Cycles

Mr. Brooks discussed the advantages of the quarterly review cycle concept as
opposed to the 90-day review cycle presently in effect. He stated that not
being able to inform a provider as to when a particular project would be put
on the agenda had, understandably, caused some confusion. Mr. Brooks noted
that an increasing number of projects were being opposed and hearings were
being requested, making it impossible for the staff to always anticipate the
date an application would be on the Commission agenda. He indicated that the
quarterly review cycles would apply only to substantive applications.

Mr, Brooks stated that the quarterly review cycles would allow more timely
consideration of competing applications and would provide a clearer timetable
for applicants wishing to submit applications.

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF APRIL 21, 1983 REGULAR MEETING NO. 46

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
April 21, 1983, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Mr. Dan Wilford, Chairman Mr. Don Gill

Patrick Pierce, M.D., Vice Chairman Mr. Robert Pugh

Mrs. Sara Gallaspy, Secretary Mr. Mendal Kemp

Alton B. Cobb, M.D. Mr. Bruce Ridgway

Mr. John Allen Darnell Mrs. Nita Gunter

Bishop Joseph L. Howze Mrs. Martha Yeager

Mr. Charles Penson

The meeting was called to order by the Chairman, Mr. Dan Wilford. The invocation was
given by Bishop Howze.

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on
April 9, 1983, was read by Mrs. Gallaspy, Commission Secretary.

Mr. Wilford asked for corrections or additions to the Minutes of the March 17, 1983,

meeting; there were none. A motion was made by Bishop Howze, seconded by Dr. Pierce,
to approve the Minutes as written. There was no opposition, and the motion carried.

COMMISSION DIRECTOR NAMED

Chairman Wilford stated that after Mr. Brooks had announced his resignation to
be effective April 3, 1983, the Commission had decided to first interview applicants
for the position of Executive Director from the Commission staff. Mr. Wilford noted
that the six individuals who had applied for the position had been interviewed by
the Commission and had all been found to be extremely capable individuals and all
worthy of consideration for the position of Executive Director. The following staff
members were interviewed: Don Gil], Nita Gunter, George Jobe, Mendal Kemp, Robert
Pugh and Bruce Ridgway.

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the Medicaid budget, but the increased quality of care would justify the
expenditure.

A motion was made by Dr. Cobb, seconded by Mr. Darnell, to accept the staff
recommendation and approve the proposal. There was no opposition, one absten-
tion (Mr. Wilford) and the motion carried.

COMMISSION BUSINESS

1. Changes in the Health Care Commission Law

Mr. Gill, staff attorney, gave a brief review of House Bill 927, the Health Care
Commission Law, which was signed by the Governor on April 9, 1983.

Section 41-7-175(2): Mr. Gill stated that the phrase "as prescribed by the
Legislature" had been added since the bill did not in all cases follow the
Federal requirements.

Section 41-7-185(a): Mr. Gill noted that language had been added which would
"with the approval of the Statewide Health Coordinating Council . . . to accept
funds to administer planning activities on the community or regional basis." He
stated that all of the Commission's planning was now done on a statewide basis,
but the language would provide some leeway in case changes were made during the
year.

Section 41-7-191(e): Mr. Gill stated that the "elimination of a service" had
been removed as a review item.

Section 41-7-191(2): Mr. Gill noted that the moratorium on nursing home
addition, expansion or construction was brought forth again "for a period of
twelve months from and after July 1, 1983." He stated that an exemption was
made "for the construction of a combination skilled nursing and intermediate
care facility...where such applicant had an approved application...under
Section 1122...on file with the commission on or before July 1, 1979 but had
not commenced construction of such facility on or before July 1, 1983." Mr.
Gill stated that the exception would involve only one or two applicants and
those applications would have to receive Commission review in the usual manner.

Section 41-7-191(3): Mr. Gill stated that a moratorium on the “establishment
of, or expansion of the currently approved territory of" a home health agency
was effective from passage of the bill through July Atte Syo3196
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Section 41-7-193(1): Mr. Gill stated that the language added merely strengthened
existing law. "A CON shall not be granted or issued...unless the proposal has
been reviewed for consistency with the specifications and the criteria established
by the commission and substantially complies with the projection of need as re-
ported in the most current state health plan."

Section 41-7-197(1): Mr. Gill stated that this section changed the hearing
process whereby "hearings during the course of review" would be conducted by a
hearing officer (staff member) designated by the Director with the record being
certified to the Commission for review and action.

There was a discusston regarding this change and Mr. Gill noted that
several complaints had been received by members of the Legislature re-
garding the number of hearings brought before the Commission. Mr. Gill
pointed out that according to the new law, if an application were involved
in a "hearing during the course of review," the proponents would not be
permitted to personally address the Commission at the time the project was
reviewed. Commission members discussed the advantages and disadvantages
of the new method, with no consensus of opinion agreed upon.

Section 41-7-191(2): Mr. Gill noted that this section allowed a shortened review
period in cases where the Health Systems Agency elected not to review a proposal.

Section 41-7-191(3): Mr. Gill stated that one of the major changes in this
section was that the Director was to determine whether or not a reconsideration
hearing was justified, based upon the following three criteria:

"a, Presents significant, relevant newly discovered information not
previously available and not considered by the commission;

b. Demonstrates that there have been significant changes in factors or
‘circumstances since the original hearing relied upon by the commission
in reaching its decision; or

c. Demonstrates that the commission has materially failed to follow its
adopted procedures in reaching a decision."

Mr. Gill stated that the staff had recommended to the Legislature that
the decision to grant or not grant a reconsideration hearing should be
made jointly by the Commission Chairman and the Director, but the Legis-
lature chose not to accept the staff recommendation.

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Transcript

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April 17, 1983
Invocation - Bishop Howze
Notice of meeting - Mrs. Gallaspy - (April 9)

Minutes of March 17 - no corrections/addition. Motion to approve by Bishop Howze,
second by Dr. Pierce. No oppostion.

Mr. Wilford: Mtg on Wed to interview candidates for position of Ex. Dir. Tom
Brooks who has served as Dir almost from the beginning of the MHCC resigned; we
acceptd his resignation with regret; he did an excellent job; we would like to ask
Mr. Gill to preare a resolution from this Comm expressing our appreciation to Tom

for his service as Ex Dir of the HCC and we will present that to himat an appropriate
time.

Yesterday we had met to interview candidates; we had decided at our March meeting
to first interview candidates from within the HCC staff. We received 6 appli; we
were very impressed with those applicants; we have some extremely capable people in
this agency and we are fortunatate to have such people on staff. We interviewed al]
6 of the candidates; we felt that we respect al] of them and felt that they had all
done an excellent job in teir respective positions and they were all worthy of or
consideration as a Director. Is there a motion regarding this matter?

Dr. Pierce: I move that we confirm the action taken in executive sessn yesterday
in selecting RP as Dir of the HCC. Seconded by Mrs. Gallaspy. No opposition.
Unanimously

Mr. W: Don gill has served as Interim Dir for the past month and has done an
excellent job. Appreciate his serving in that capacity.

1. Beverly Enterprises

Mr. W. - for the purchase of 7 nursing homes in our state; there was some question
about whether or not we would have legal problems with this; we wanted to get some
feedback from the Medicaid Comm re their feelings on the financial impact of this.
Evidently the MC feels that the financial impact is minimal. We have made
appropriate reviews with various organizations and agencies regarding any potential
legal problems and apparently. thre are none.

Mr. Gill: That's right. We checked with Hyattsville, Maryland, regional office
of the Public Health Service Dept and various states and they find no flaw in it
anywhere. We could find no reason we would have to deny this transfer.

Dr. Cobb: On the bottm of the first page, there is a comment on the minimal impact

on Med; however, the material reads on, costs could be shifted to the private pay
patient in the three facilities operating above the cap. What is Beverly's projections
ofr the private pay patient?

Lori Costa, Assistant Counself, Beverly Enterprises: Our projects right now are
one to 2 dollars over the current private rate.

Dr. Cobb: What are your long term plans for further acquisitions in MS?

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COMMISSION BUSINESS
]. Changes in HCC Law

Mr. Gill: This bill is rather a hybrid of several proposals submitted to the
Leg and quite a bit of it is their own language.

The Bill is House Bill 927 and was signed by the Governor on April 9, 1983.

Section 41-7-175(2) phrase "as prescribed by the Legislature’ added because this
bill does not exactly track the Federal requirements but tracks them to the
extent that the Leg tells us to track them. We wanted that in there in case ther
was any deviation due to their action, we wanted them to say "as prescribed by
them." the Leg,

Section 41~7-185(a) SHCC asked for this language "and with the approval of the SHCC
to contract with the Secretary to accept funds to administer planning activities

on the community or regional level". Atl of our planning now is on a statewide
basis, but SHCC requested the language.

Section 41-7-191(e) - We have eliminted one review item, which is the elimination
of a service, that is required in the Fed regulations. It still requires a review
when moving from one physical site or facility to another site or facility; any
service or relocation of the institution itself. (Dr. Cobb asked who suggested
this elimination? Mr, Gill stated that the Leg did not tell him; they indicated
that there had been complaints about this review item - House Public Health
Committee)

Section 41-7-191(2) - same moratorium on nursing home addition, expansion, or
construction - brought forth again "for a period of twelve months from and after
July 1, 1983".

There was added an exemption to the moratorium law: Provided further, that nothing
contained herein shall prohibit the granting of a certificate of need for which
an application has been made within 180 days after July 1, 1983, for the
construction of a combination skilled nursing and intermedicate care facility

as defined in subparagraphs (iv) and (vi) of Section 41-7-173(g), where such
applicant had an approved application for such facility under Section 1122 of
Public Law 92-603 on file with he commission on or before July 1, 1979, but had
not commenced construction of such facility on or before July 1, 1983. (which
applicant was it written for --- discussion; commission wants list of applicants
this pertains to) (Don: This does not mean that the commission will approve
the application -~ it just means that if it is approvable, you can approve it)
(one for certain is Angelus - another may be East Harrison on the coast)

Section 41-7-191(3) ~ moratorium on home health agencies. "the HCC shall not,
.- «+ + grant approval for... the establishment of, or expansion of the
currently approved territory of, a health care facility as defined in sub-
paragraph (ix) of Sectin 41-7-173(g) (home health). (we did not ask for this

ett no stand, for or against)

Section 41-7-193(1) "A CON shall not be granted or issued to any persons for
any proposal, cause or reason, unless the proposal has been reviewed for
consistency with the specifications and the criteria established by the
commission and ubstantially complies with the projetion of need as reported in
the most current state health plan. (This merely strengthens existing
language in the law.)

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MISSISSIPPI HEALTH CARE COMMISSION
MEETING

MINUTES OF MAY 19, 1983 REGULAR MEETING NO. 47

A regular meeting of the Mississippi Health Care Commission was held on Thursday,
May 19, 1983, in the Multi-Purpose Room of the Health Care Commission, 2688
Insurance Center Drive, Jackson, Mississippi.

Commission Members Present Commission Staff Present
Patrick Pierce, M.D., Vice Chairman Mr. Robert Pugh
Mrs. Sara Gallaspy, Secretary Mr. Mendal Kemp
Mr. John Allen Darnell Mr. Don Gill
Bishop Joseph L. Howze Mr. George Jabe

Mrs. Pam Ashley
Commission Members Absent Mrs, Nita Gunter

Mrs. Jacqueline Thames
Mr. Dan Wilford, Chairman Mrs. Martha Yeager

Alton Cobb, M.D.
Mr. Charles Penson

The meeting was called to order by the Vice Chairman, Dr. Patrick Pierce, The
invocation was given by Bishop Howze. Dr. Pierce informed the Commissioners that
Mr. Wilford had undergone surgery earlier in the week and was reported to be
recuperating satisfactorily. :

The Legal Notice of the public meeting, as it appeared in the Clarion-Ledger on May 9,
1983, was read by Mrs. Gallaspy, Commission Secretary.

Dr. Pierce asked for corrections or additions to the Minutes of the April 21, 1983,
meeting; there were none. A motion was made by Mrs. Gallaspy, seconded by Mr.
Darnel], to approve the Minutes as written. There was no opposition, and the motion
carried,

Dr. Pierce welcomed Col. Lawrence Roberts and introduced him to the Commission
members and stated that Col. Roberts would serve as a member of the Health Care
Commission beginning on July 1, 1983. Dr. Pierce expressed the appreciation of

the Commission for Bishop Howze's contribution to the work of the Commission during
his tenure and noted that Bishop Howze had chosen not to be re-appointed.

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b. Statutory Law Superseding Commission Rules and Regulations

Mr. Pugh stated that the policy merely formally recognized that statutory
law would supersede rules and regulations adopted by the Commission when
the two were in conflict.

A motion was made by Mrs. Gallaspy, seconded by Mr. Darnell, to take
final adoption action; there was no opposition, and the motion carried.

c. Certificate of Need Review Cycles

Mr. Pugh noted that the policy, initially adopted at the April Commission
meeting, would establish strict quarterly review cycles for all substantive
applications. He stated that under the new policy, all substantive
applications would have to be submitted to the Commission no later than
the first day of the month preceding the beginning of any quarter to be
considered that quarter and if the application was deemed complete no
later than the first day of the month beginning the quarter, the Commis-
sion decision would be rendered in the third month of that quarter.

A motion was made by Mrs. Gallaspy, seconded by Bishop Howze, to take
final adoption action on the policy; there was no opposition, and the
motion carried.

CDU Beds: Mississippi Baptist Medical Center, Jackson

Dr. Pierce stated that it was his understanding that the Baptist Medical

Center intended to request a reconsideration hearing with regard to a previously
approved project involving chemical dependency beds and that such written
request would have to be received before the Commission would be in a position
to take any action.

Mr. Kent Strum, Mississippi Baptist Medical Center, stated that he understood
the procedure to be followed and would waive his request to address the Com-
mission on the matter that day.

Draft Policy Regarding Monopolistic Activity

Mr. Pugh stated that the staff had been directed to review the ownership of
health care facilities in the State and draft a policy that would delineate
the Commission's authority and intent with regard to limiting monopolistic

activity in the ownership and/or control of such facilities.

PLAINTIFFSQ03223
